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20
                            UNITED STATES DISTRICT COURT
21
                          CENTRAL DISTRICT OF CALIFORNIA
22
23
24    REBECCA CAREY, and CODY
      LATZER, on behalf of themselves
25    and others similarly situated,
26                 Plaintiffs,
27          vs.
28                                                   Case No. 5:21-cv-02095-WLH-DTBx
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 1    J.A.K.’S PUPPIES, INC., JOLYN                AMENDED COMPLAINT—CLASS
      NOETHE, KIMBERLY DOLPHIN,
 2    RUSSELL KIRK, RESCUE PETS                             ACTION
      IOWA CORP., TBHF LLC D/B/A
 3    THE PET X CHANGE, BARK                            JURY TRIAL DEMANDED
      ADOPTIONS, STEPHANIE
 4    VAUGHN, ANA DIAZ, PET
      CONNECT RESCUE, INC., RAY
 5    ROTHMAN, ALYSIA ROTHMAN,
      SUBJECT ENTERPRISE, INC.,
 6    CODA SUBJECT, MICADA, INC.
      D/B/A ANIMAL KINGDOM PET
 7    SHOP, and ADAM TIPTON,
 8                 Defendants.
 9
10         Pursuant to Fed. R. Civ. P. 15(a)(1)(B), Plaintiffs file this Amended Complaint
11   as a matter of course.
12                                      INTRODUCTION
13         1.     The State of California has long recognized the need to protect
14   consumers from unscrupulous animal dealers who sell puppies bred in deplorable
15   conditions at “puppy mills.” Described as “large commercial breeding facilities that
16   mass produce animals for sale at retail markets,” puppy mills are commonly
17   associated with “producing sick animals, inhumane treatment, and providing
18   abhorrent living conditions.” A.B. 485, Assemb. Comm. On Bus. And Prof. Bill
19   Analysis at 5 (Cal. Apr. 18 2017). Beginning in the 1990’s, the California Legislature
20   acted to protect consumers from the perils of purchasing puppy mill puppies by
21   requiring that retailers disclose the puppies’ state of origin and known medical
22   problems. After these requirements proved insufficient, the state enacted a complete
23   ban on the sale of puppies—excepting bona fide rescue animals—effective January 1,
24   2019 (hereinafter called the “Puppy Mill Ban”).
25         2.     Plaintiffs are California consumers who purchased puppies held out as
26   bona fide rescue animals after the state’s ban went into effect. In reality, a private
27   broker collected the dogs from puppy mills across the county and laundered them
28
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 1   through sham non-profits in Iowa, Missouri, and California for ultimate sale to
 2   unsuspecting consumers in California.
 3         3.     Each of the Defendants have, both individually and collectively,
 4   knowingly participated in the unlawful and unfair activity of trafficking puppy mill
 5   puppies into California for compensation and private gain. Defendants falsified the
 6   puppies’ sources and pretended to operate as, or work with, animal rescue
 7   organizations to circumvent the restrictions of California law. This “puppy
 8   laundering” scheme enabled Defendants to sell dogs to consumers who would not
 9   have otherwise supported an illegal black-market enterprise, much less paid the
10   premium prices they did for their puppies.
11         4.     Defendants’ scheme exploited the fact that purebred and designer breed
12   puppies who are bona fide rescue animals can command the highest prices. E.g.,
13   Laura A. Reese et al., No Dog Left Behind: A Hedonic Pricing Model for Animal
14   Shelters, 20 Journal of Applied Animal Welfare Science 1, 52–64 (2017). Years
15   before the sale of commercially bred dogs was banned, consumers already viewed
16   animal rescues as the most ethical source for obtaining a dog. Furthermore, the
17   cultural and societal “pressure to rescue dogs has increased” in recent years, leading to
18   a “non-rescue stigma” against people who purchase non-rescue dogs and a “more
19   desirable identity” for rescue dog guardians. Lynsey K. Romo et al., An Examination
20   of Communicative Negotiation of Non-Rescue Dog Stigma, Society & Animals (Aug.
21   22, 2019).
22         5.     Plaintiffs bring this action on behalf of themselves and other similarly
23   situated California consumers to recover the damages they incurred from Defendants’
24   unlawful and unfair sale of puppy mill dogs, to disgorge all profits, proceeds, and
25   gains from Defendants’ illegal puppy laundering ring, and to prohibit Defendants from
26   selling puppy mill dogs in California.
27
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 1                                  JURISDICTION AND VENUE
 2           6.       This Court has subject matter jurisdiction pursuant to the Racketeer
 3   Influenced and Corrupt Organizations Statute (“RICO”) statute, 18 U.S.C. § 1961 et
 4   seq., under 28 U.S.C. § 1331 (federal question jurisdiction).
 5           7.       Diversity subject matter jurisdiction also exists over this class action
 6   pursuant to the Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119
 7   Stat. 4 (2005), amending 28 U.S.C. § 1332(d). This class action involves: (a) 100 or
 8   more members in the proposed class; (b) where at least some members of the
 9   proposed class have different citizenship from some defendants; and (c) where the
10   claims of the proposed class members exceed the sum or value of five million dollars
11   ($5,000,000) in the aggregate. 28 U.S.C. § 1332(d)(2) and (6).
12           8.       This Court has personal jurisdiction over the parties in this case.
13   Plaintiffs are citizens of California and reside in Santa Barbara and San Luis Obispo
14   Counties. Defendants have sufficient minimum contacts with California, avail
15   themselves of the laws of the state, and distribute and sell dogs within the district.
16   Many acts complained of herein occurred in the district, including the illegal and
17   deceptive sale of puppies.
18           9.       Venue is proper in this Court. Substantial acts in furtherance of the
19   alleged improper conduct, including the illegal and deceptive sale of puppies,
20   occurred in this district.
21           10.      Concurrently with the filing of this Complaint, Plaintiffs filed an affidavit
22   pursuant to Cal. Civil Code § 1780(d) regarding the propriety of venue. See Ex. A.
23                                              PARTIES
24      I.         Plaintiffs.
25           11.      Plaintiff Rebecca Carey is a California consumer and resident of Santa
26   Barbara County. Carey purchased a Cockapoo puppy, whom she named Sonnie, from
27   an Animal Kingdom pet store in January 2019. Animal Kingdom represented that
28   Sonnie came from Bark Adoptions Rescue, and Carey believed Sonnie was a rescue
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 1   puppy. In truth, Sonnie came from a puppy mill, which is likely why she now suffers
 2   from permanent back and spine problems. Carey would not have purchased Sonnie if
 3   she knew she was sold in violation of California’s Puppy Mill Ban and she never
 4   would have knowingly spent her money in support of a black market puppy trade.
 5   Carey has no plans to leave California and will certainly purchase another dog in
 6   California in the future. She is concerned that, despite her attempts to ensure any dog
 7   she purchases is not from a puppy mill, Defendants will continue to obscure the
 8   origins of dogs sold in California and she will mistakenly buy a puppy mill dog.
 9         12.    Plaintiff Cody Latzer is a California consumer and resident of San Luis
10   Obispo County. Latzer purchased an Australian cattle dog, whom he named Sadie,
11   from an Animal Kingdom pet store in March 2019. As Animal Kingdom represented
12   that Sadie came from Pet Connect Rescue in the agreement Latzer signed when
13   purchasing her, Latzer believed the puppy was a rescue. Further, Animal Kingdom
14   was obligated under the Puppy Mill Ban to list Pet Connect Rescue as Sadie’s source
15   on the card displayed outside her cage. In fact, Pet Connect Rescue is a sham and
16   Sadie came from a puppy mill. Like Carey, Latzer would not have supported
17   Defendants’ black market puppy trade with his hard-earned money if Defendants had
18   not lied about Sadie’s origins to evade the Puppy Mill Ban. Latzer remains living in
19   California and is more likely than not to acquire another dog in the future. He is
20   concerned that even with his best efforts to ensure any dog he acquires is not from a
21   puppy mill, Defendants will continue obscuring the origins of dogs sold in California.
22   In acquiring another dog, he will be compelled to undertake an extensive investigation
23   to make sure he is not getting the dog through a scam.
24         13.    Plaintiffs file this Complaint in their individual capacity, and as a class
25   action on behalf of themselves and all others similarly situated. They, along with other
26   class members who may be named as class representatives at the time a motion is filed
27   to certify the proposed class, will represent the following class:
28
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 1         All persons who, on or after January 1, 2019, purchased dogs in the State
 2         of California supplied by J.A.K.’s. Excluded from the Class are (1)
           Defendants and their legal representatives, officers, directors, assigns, and
 3         successors; and (2) the judge to whom this case is assigned and the judge’s
 4         staff.
 5
           14.    On December 9, 2021, a reasonable time after learning that the
 6
     puppies sold by Animal Kingdom were in fact knowingly acquired from
 7
     commercial breeders and falsely sold as legitimate “rescues,” Plaintiffs notified
 8
     Animal Kingdom through certified mail, return receipt requested of its alleged
 9
     violations of the California Consumer Remedies Act pursuant to California Civil
10
     Code § 1782(a), including its unlawful, unfair and deceptive conduct in
11
     connection with Plaintiffs’ purchase of Sonnie and Sadie. Plaintiffs demanded
12
     that Animal Kingdom rectify the problems associated with the sale. As of the
13
     filing of this Amended Complaint, Animal Kingdom has failed to adequately
14
     respond to these demands and has failed to give notice to all affected consumers,
15
     as required by California Civil Code § 1782.
16
           15.    In December 2021 and again in early 2022, Plaintiffs further notified
17
     all Defendants, through certified mail, return receipt requested, of their violations
18
     of the California Consumer Legal Remedies Act alleged herein and demanded
19
     that Defendants rectify the problems associated with the sales of puppies
20
     knowingly acquired from commercial breeders and falsely sold as legitimate
21
     “rescues,” as alleged herein. As of the filing of this Amended Complaint,
22
     Defendants have failed to adequately respond to these demands and failed to give
23
     notice to all affected consumers, as required by California Civil Code § 1782.
24
25
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 1      II.         Defendants.
 2   Central Broker and Supplier Defendants.
 3            16.     Defendant J.A.K.’s Puppies, Inc. (“J.A.K.’s”), named after its founding
 4   members, Jolyn Noethe and Kimberly Dolphin, is a for-profit puppy broker that
 5   churns through thousands of designer and pure breed puppies annually.
 6            17.     J.A.K.’s acquires its puppies from puppy mills. Indeed, J.A.K.’s
 7   knowingly obtains and actively seeks to utilize puppies from puppy mills, including
 8   breeders without United States Department of Agriculture (“USDA”) licenses, for
 9   resale to pet stores.
10            18.     In 2018 alone, J.A.K.’s is known to have sourced over 5,700 puppies
11   from a mix of licensed and unlicensed breeders across the United States. This number
12   only includes puppies whose purchase was documented in public record and is likely a
13   mere portion of the puppies who J.A.K.’s acquired and sold that year.
14            19.     J.A.K.’s is located at 2685 Grant Ave., Britt, Iowa 50423. As a broker,
15   J.A.K.’s is inspected by the USDA; an inspection report from August 2020 shows 254
16   puppies on site.
17            20.     J.A.K.’s was a defendant in a lawsuit brought by the Iowa State Attorney
18   General regarding a puppy laundering ring that funneled commercially bred puppies
19   through a sham non-profit, Hobo K-9 Rescue, before being sold to unsuspecting
20   consumers throughout the country (“Iowa AG lawsuit”).
21            21.     Defendant Jolyn Noethe is Co-President, Secretary, and Director of
22   J.A.K.’s. She was a defendant in the Iowa AG lawsuit. She is a resident of Britt, Iowa.
23            22.     Defendant Kimberly Dolphin is Co-President, Secretary, and Director of
24   J.A.K.’s. She was a defendant in the Iowa AG lawsuit. She is a resident of Britt, Iowa.
25            23.     Defendants Noethe, Dolphin, and J.A.K.’s are collectively referred to as
26   “J.A.K.’s.” Every decision that J.A.K.’s made was with the knowledge of, and
27   implemented by, Defendants Noethe and Dolphin.
28
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 1   Sham Rescue Defendants.
 2         24.    Defendant Russell Kirk was President, Secretary, Treasurer, and Director
 3   of Rescue Pets Iowa Corp., a sham Iowa nonprofit formed more than a year after
 4   California’s ban on the sale of commercially bred puppies was enacted, and just two
 5   weeks before the ban’s January 1, 2019, effective date. Kirk was a defendant in the
 6   Iowa AG lawsuit. Kirk is a resident of Ottumwa, Iowa.
 7         25.    Defendant Rescue Pets Iowa Corp. (“Rescue Pets Iowa”) purported to be
 8   a corporation “organized exclusively for charitable … purposes … [t]o rescue pets.”
 9   Kirk was Rescue Pets Iowa’s sole employee and member.
10         26.    Rescue Pets Iowa was a corporate shell. Its only purpose was to serve as
11   a conduit through which J.A.K.’s funneled the legal title of commercially bred dogs so
12   that they could be labeled as “rescues” before reaching consumers in California.
13         27.    Rescue Pets Iowa was a defendant in the Iowa AG lawsuit. Rescue Pets
14   Iowa was located in Ottumwa, Iowa at the same address as Kirk’s personal residence.
15         28.    Defendants Kirk and Rescue Pets Iowa are collectively referred to as
16   “Rescue Pets Iowa.” Every decision that Rescue Pets Iowa made was with the
17   knowledge of, and implemented by, Defendant Kirk.
18         29.    Kirk is also a member of TBHF LLC d/b/a The Pet X Change, an Iowa
19   limited liability company (“TBHF LLC”).
20         30.    While Defendant TBHF LLC purports to be in the business of “software
21   development and services,” it played an active role in Defendants’ illicit puppy
22   laundering scheme. TBHF LLC created the documents that Defendants relied upon to
23   disguise their scheme and paid for the Certificates of Veterinary Inspections that were
24   required to transfer the fake rescue puppies from Iowa to California.
25         31.    TBHF LLC is located in Britt, Iowa, at the same address as Defendant
26   Noethe’s personal residence.
27         32.    Defendant Bark Adoptions is a California corporation, California
28   Corporate Number C4215365, located in Menifee, California. Bark Adoptions was
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 1   formed in November of 2018, also shortly before California’s ban on the sale of
 2   commercially bred puppies went into effect on January 1, 2019.
 3         33.    Defendant Stephanie Vaughn is Vice President of Bark Adoptions. She is
 4   a resident of Winchester, California.
 5         34.    Defendant Ana Diaz is President of Bark Adoptions. She resides in
 6   Menifee, California at the same address as Bark Adoptions. She is the sister of
 7   Amilcar Chavez, a California pet store owner and operator who regularly sold weeks-
 8   old puppies to California consumers after California’s ban on the sale of commercially
 9   bred puppies went into effect on January 1, 2019.
10         35.    Bark Adoptions is a corporate shell. It is a conduit through which
11   Defendants funneled the legal title of commercially bred dogs so that they can be
12   labeled as “rescues” before reaching consumers in California.
13         36.    Defendants Vaughn, Diaz and Bark Adoptions are collectively referred to
14   as “Bark Adoptions.” Every decision that Bark Adoptions made was with the
15   knowledge of, and implemented by, Defendants Vaughn and Diaz.
16         37.    Defendant Pet Connect Rescue, Inc. (“Pet Connect Rescue”) is a
17   Missouri-based sham animal rescue organization incorporated under Missouri law on
18   January 26, 2018. Pet Connect Rescue has acquired hundreds to thousands of dogs
19   from J.A.K.’s and other puppy mill sources and, knowing the dogs’ puppy mill
20   origins, transferred the dogs to California pet stores for compensation, in violation of
21   the Puppy Mill Ban.
22         38.    Defendants Ray Rothman and Alysia Rothman are the co-owners and co-
23   operators of Pet Connect Rescue. Both Ray and Alysia Rothman are residents of
24   Missouri.
25         39.    Defendants Alysia and Ray Rothman and Pet Connect Rescue are
26   collectively referred to as “Pet Connect Rescue.” Every decision that Pet Connect
27   Rescue made was with the knowledge of, and implemented by, Defendants Alysia and
28   Ray Rothman.
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 1         40.    Defendants Rescue Pets Iowa, Bark Adoptions, and Pet Connect Rescue
 2   are collectively referred to as the “Sham Rescues.”
 3   Interstate Transporter Defendants.
 4         41.    Defendant Subject Enterprise, Inc. is an entity organized under the laws
 5   of Iowa located at 165 210th Street, Wesley, Iowa 50483 and incorporated in June
 6   2018. Subject Enterprise, Inc. is a transportation company that exclusively serves
 7   J.A.K.’s and ships J.A.K.’s puppies into California for sale to pet stores. Subject
 8   Enterprise, Inc. is registered as a Class T – Carrier with the United States Department
 9   of Agriculture.
10         42.    Defendant Coda Subject is the Director of Subject Enterprise, Inc. He is
11   the nephew of Defendant Jolyn Noethe. He is a resident of Iowa.
12         43.    Defendants Coda Subject and Subject Enterprise, Inc. are collectively
13   referred to as “Subject Enterprise.” Every decision that Subject Enterprise made was
14   with the knowledge of, and implemented by, Defendant Coda Subject.
15   Pet Store Defendants.
16         44.    Defendant Micada, Inc. d/b/a Animal Kingdom Pet Shop (“Micada” or
17   “Animal Kingdom”) was a California corporation operating at least three retail pet
18   stores during the relevant time: (1) 1675 West Grand Avenue in Grover Beach and (2)
19   651 Dolliver Street in Pismo Beach, both located in the County of San Luis Obispo;
20   and (3) 142 Town Center East in Santa Maria, located in the County of Santa Barbara.
21   Animal Kingdom repeatedly violated the Puppy Mill Ban by acquiring from one or
22   more of the other Defendants hundreds of puppies and then selling them through its
23   pet stores after the Puppy Mill Ban went into effect.
24         45.    Defendant Adam Tipton was the owner of Animal Kingdom. Tipton is a
25   resident of California.
26         46.    Defendant Animal Kingdom, Defendant Tipton and any and all pet stores
27   operated by Animal Kingdom are collectively referred to as “Animal Kingdom.”
28
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 1   Every decision that Animal Kingdom made was with the knowledge of, and
 2   implemented by, Defendant Tipton.
 3
                                   FACTUAL ALLEGATIONS
 4
        I.         The California Puppy Mill Ban.
 5
             47.     On January 1, 2019, California’s ban on the sale of animals sourced from
 6
     large scale commercial breeders—puppy mills—came into effect. Cal. Health &
 7
     Safety Code § 122354.5 (“Puppy Mill Ban”).
 8
             48.     The Puppy Mill Ban requires that pet stores only sell dogs from rescue
 9
     groups or animal shelters:
10
             A pet store operator shall not sell a live dog, cat, or rabbit in a pet store
11           unless the animal was obtained from a public animal control agency or
12           shelter, society for the prevention of cruelty to animals shelter, humane
             society shelter, or rescue group that is in a cooperative agreement with at
13           least one private or public shelter . . . .
14           See Health & Safety Code § 122354.5(a).
15
             49.     A “rescue group” is defined as “an organization that is tax exempt under
16
     Section 501I(3) of the Internal Revenue Code, and that does not obtain animals from
17
     breeders or brokers for compensation.” See Health & Safety Code § 122354.5(j).
18
             50.     “Rescue group” does not include puppy mills. A “puppy mill” has been
19
     defined as a “dog breeding operation in which the health of the dogs is disregarded in
20
     order to maintain a low overhead and maximize profits.” Avenson v. Zegart, 577 F.
21
     Supp. 958, 960 (D. Minn. 1984).
22
             51.     When enacting the Puppy Mill Ban, the California Assembly and Senate
23
     referred to “puppy mills” as a “common term[] for large commercial breeding
24
     facilities that mass produce animals for sale at retail markets,” and expressed concerns
25
     for the health and welfare of dogs at such facilities. A.B. 485, Senate Floor Analyses
26
     at 3 (Cal. Sept. 9, 2017); A.B. 485, Assemb. Floor Analyses at 3 (Cal. Sept. 13, 2017).
27
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 1         52.     The standard practice for puppy mills involves keeping mother dogs in
 2   cages that are only six inches longer than their bodies for their entire life, with no
 3   requirement that they ever leave them. Dozens to hundreds of mother dogs are stacked
 4   in rows and columns of cages, covered in waste and exposed to the elements, without
 5   protection from the heat or cold. These mother dogs give birth to several litters of
 6   puppies a year, with no limit on the number of times they can be forced to breed. The
 7   puppies are taken away from the mother when they are six to eight weeks old and
 8   transported long distances to retail pet stores. Many die en route or face a shortened
 9   life from illness and disease from the mills’ unsanitary and overcrowded facilities, or
10   inbreeding.
11         53.     Passed on October 13, 2017, the Puppy Mill Ban was meant to eliminate
12   the supply of puppies from facilities that “are typically operated with an emphasis on
13   profits over animal welfare,” wherein “dogs often live in substandard conditions,
14   housed for their entire reproductive lives in cages or runs, provided little to no positive
15   human interaction or other forms of environmental enrichment, and minimal to no
16   veterinary care.” See A.B. 485, Senate Floor Analyses at 3 (Cal. Sept. 9, 2017). The
17   California legislature anticipated that consumers’ demand for puppies would readily
18   be met by “the availability of shelter animals in California as a source for either
19   adoption or for sale in a pet store establishment.” Id.
20         54.     Transitioning away from the puppy mill industry has both animal welfare
21   and consumer protection goals. As the Iowa Attorney General’s Office explained in its
22   complaint in the Iowa AG lawsuit, consumers “choose not to buy puppies originating
23   from [puppy mills,]” in part because “consumers who purchase expensive puppies
24   bred within a puppy mill are less assured that the dogs will live average lifespans,
25   since puppy mill breeding operations often result in illnesses that reduce the quality
26   and length of puppies’ lives.” State of Iowa v. Hobo K9 Rescue et al., Pet No. 05771
27   EQCE084294 at 3 (filed Mar. 18, 2019) [hereinafter “Iowa AG Petition”], available at
28
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 1   https://www.iowaattorneygeneral.gov/media/cms/hobo k9 final petition F741B0336
 2   3499.pdf.
 3         II.         Defendants Embedded in Puppy Mill Industry Scheme to Circumvent
 4                     Chicago Ban on Puppy Mill Sales.
 5               55.     California’s Puppy Mill Ban is not unique. Like California, numerous
 6   counties, states, and municipalities have met consumer concerns with the sale of
 7   puppy mill animals by restricting or banning the sale of commercially bred animals
 8   outright.
 9               56.     In 2014, Chicago enacted its own ban prohibiting the sale of dogs that
10   were not obtained from a rescue organization. See CHI, ILL., LOCAL ORDINANCES ch. 4
11   § 384-015(b).
12               57.     To circumvent Chicago’s ban, J.A.K.’s—one of the country’s largest
13   puppy mill brokers—resorted to “puppy laundering,” or “the purposeful masking of
14   the genuine source of merchandise puppies from consumers and law enforcement.”
15   Iowa AG Petition at 4. J.A.K.’s funneled the commercially bred puppies’ legal title
16   through Hobo K-9 Rescue (“Hobo K-9), an Iowa-based sham non-profit “rescue”
17   operated by Defendants Noethe and Dolphin. By funneling the puppies through a
18   sham rescue of its own creation, J.A.K.’s was able to mischaracterize them as genuine
19   “rescues” before delivering them to Chicago, and thereby “frustrate and circumvent
20   laws protecting consumers – for profit.” Id. ¶ 57.
21               58.      J.A.K.’s used Hobo K-9 to sell almost 1,300 puppies, almost all of
22   whom entered Chicago and other banned jurisdictions under the pretense of having
23   been “rescued” from none other than J.A.K.’s. See id. ¶¶ 27-29.
24               59.     Unlike genuine rescues, the sales had hallmarks of the for-profit puppy
25   mill industry. Hobo K-9 provided pedigrees with the sale of each puppy, transferred
26   most of the animals to for-profit pet stores who sold them to consumers for nearly
27   $4,000 each, and did not spay or neuter the eight- to ten-weekold puppies. Id. ¶¶ 31-
28   33.
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 1             60.     J.A.K.’s benefited significantly from the Chicago scheme. It received
 2   substantial sums for the puppies, through payments that Hobo K-9 received from
 3   Chicago pet stores and marked for transfer to J.A.K.’s as “procurement fees.” Hobo
 4   K-9 transferred more than $710,000 of Chicago pet store payments to J.A.K.’s. See id.
 5   ¶¶ 34, 39-41.
 6             61.     On March 18, 2019, the Iowa Attorney General exposed the Chicago
 7   scheme, lodging a formal complaint against J.A.K.’s, Defendant Noethe, and
 8   Defendant Dolphin, alleging they were “integral actors of a national puppy laundering
 9   ring emanating from within Iowa.” Iowa AG Petition ¶ 16.
10             62.     But the Iowa Attorney General’s investigation and enforcement did not
11   deter J.A.K.’s. Instead, it moved quickly “to obscure ongoing fraudulent activities the
12   Attorney General ha[d] been investigating since June 2018 by creating a brand-new
13   sham charity called Rescue Pets Iowa Corp.” Id. ¶ 61.
14      III.         Defendants Devise New Scheme and Shell Companies to Deceive
15                   California Consumers.
16             63.     With the Chicago scheme unraveling, and with Rescue Pets Iowa poised
17   to continue rebranding J.A.K.’s puppy mill animals as fake rescues, J.A.K.’s and its
18   associates refocused their attention to a California-based distribution ring that it had
19   been exploiting for years.
20             64.     Since at least July 2017, J.A.K.’s had been using Hobo K-9 to launder
21   hundreds of puppies to pet stores throughout California, including to those owned by
22   pet store moguls Amilcar Chavez and David Salinas. At the time of those transfers,
23   California was home to approximately thirty-six municipal and county-level bans on
24   the sale of commercially bred animals. J.A.K.’s, acting in concert with its associates,
25   knowingly laundered puppies into California through Hobo K-9 to purposefully evade
26   those bans and to deceive consumers into believing they were buying genuine rescues.
27             65.     But when the Iowa Attorney General disrupted its ability to use Hobo K-
28   9 for puppy laundering, and with the January 1, 2019, effective date of California’s
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 1   Puppy Mill Ban looming, J.A.K.’s and its associates recognized that they needed to
 2   establish a more elaborate network of sham rescues to perpetuate their profit-making
 3   deception in California.
 4         66.    J.A.K.’s devised and coordinated the new scheme, consisting of new
 5   sham organizations and associates, at least six months before the Puppy Mill Ban
 6   went into effect on January 1, 2019. Using electronic mail and telephone calls to
 7   communicate in interstate commerce, Defendants knowingly and intentionally worked
 8   in concert with each other and concocted at least two sham rescue organizations, a
 9   transport company, and a new payment and documentation system for the purpose of
10   funneling puppy mill dogs disguised as rescues into California for the common
11   purpose of profiting from their illegal sale and circumventing the Puppy Mill Ban.
12         67.    J.A.K.’s and Defendants formed the scheme to defraud consumers and
13   circumvent the Puppy Mill Ban, intending to sell the puppies sourced from for-profit
14   entities during the period the Puppy Mill Ban was in effect.
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 1           i.   J.A.K.’s Acquires Puppies from Usual Roster of Commercial
 2                Breeders.
 3         68.    To perpetrate the scheme, J.A.K.’s first step, as the broker of the puppies,
 4   was to acquire them from its usual roster of commercial breeders, i.e., puppy mills, to
 5   transfer into California as purported “rescues.”
 6         69.    The breeders whose dogs J.A.K.’s selected to launder into California
 7   operate some of the worst facilities in the country. One such for-profit breeder is
 8   Amos Schwartz, who in 2013 was in the Humane Society of the United States’
 9   “Horrible Hundred” list of the worst puppy mills in the United States. According to
10   the Humane Society, the dogs held at his facility have been documented as
11   underweight and left “shivering in the cold” with “open wounds.”
12         70.    Another example is AJ’s Angels Inc. AJ’s Angels houses approximately
13   400 dogs at a time, who have been observed to exhibit neurotic behavioral patterns
14   due to their inadequate enclosures. Pictures of AJ’s Angels’ breeding dogs are
15   included below.
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10          ii.   J.A.K.’s Coordinates with Its Associates to Launder Puppies through
11                a Sham Non-Profit.
12         71.    After acquiring dogs from puppy mills, J.A.K.’s funneled the dogs’ legal
13   title through a sham non-profit that it helped create to enable other participants in the
14   scheme to falsely label the puppy mill animals as “rescues.”
15         72.    To disguise its involvement with a sham rescue of its own making,
16   J.A.K.’s colluded with Defendant Noethe’s and Defendant Dolphin’s close friends and
17   associates to outsource the “rescue” of the puppy mill dogs whom J.A.K.’s brokers.
18         73.    One such associate was Defendant Russell Kirk. Kirk colluded with
19   J.A.K.’s, agreeing to become the owner and operator of the new sham rescue, Rescue
20   Pets Iowa. Rescue Pets Iowa began operating in November 2018, just weeks before
21   the Puppy Mill Ban went into effect. At all material times, Rescue Pets Iowa
22   functioned solely as a rescue on paper. It never took physical custody of an animal it
23   purported to rescue. It did not send anyone to visit J.A.K.’s to view the puppies as a
24   matter of course. And it did not otherwise interact with the puppies it was “rescuing.”
25         74.    Kirk intended for Rescue Pets Iowa to aid J.A.K.’s and Defendants in
26   deceiving California consumers into purchasing commercially bred puppies labeled as
27   “rescues” after the Puppy Mill Ban went into effect. To effectuate this, Rescue Pets
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 1   Iowa at all times knowingly implemented decisions of the Enterprise’s upper
 2   management regarding disguising the true source of commercially bred puppies in
 3   order for the Enterprise to transport the puppies into California for sale as “rescues” to
 4   California consumers following the Puppy Mill Ban’s effective date.
 5         75.    Defendants J.A.K.’s and Kirk used Rescue Pets Iowa as a vehicle to
 6   deceptively rebrand puppy mill animals as fake “rescues” in order to circumvent
 7   consumer protection laws in various jurisdictions and even transferred the puppies
 8   from Rescue Pets Iowa on to other sham rescues prior to eventual sale in pet stores.
 9   The scheme was intentionally designed to supplant and improve upon the Chicago
10   laundering ring by funneling puppies through multiple levels of sham non-profits
11   across states. Indeed, Defendants J.A.K.’s and Kirk created an elaborate vertical
12   scheme whereby each of the necessary steps in the puppy laundering—purchase from
13   puppy mills, rebranding of puppies as rescues, transport of such rebranded puppies,
14   and sale of such puppies to consumers through pet stores—was perpetrated by
15   knowing co-conspirators/associates. The reasons for doing so were three-fold: the
16   deception and process could be controlled by Defendants, profits would be maximized
17   in a jurisdiction otherwise off-limits to Defendants because of the Puppy Mill Ban,
18   and the chances of being caught through the elaborate structure would be minimized.
19         76.    While J.A.K.’s, through Defendants Noethe and Dolphin, took a lead role
20   in coordinating the puppy acquisition from private breeders, transfer of ownership to
21   Rescue Pets Iowa, and distribution to California pet stores process—i.e., the puppy
22   laundering—J.A.K.’s associates, including each Defendant, knowingly and willingly
23   played their role in concert with each other and under the direction of J.A.K.’s with
24   the common purpose of achieving the integrated scheme and providing a source of
25   commercially bred puppies to sell in California pet stores while the Puppy Mill Ban
26   was in effect.
27         77.    Intending to sell the commercially bred puppies in violation of the Puppy
28   Mill Ban, J.A.K.’s identified the amount and type of puppies to “send” to Rescue Pets
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 1   Iowa each week for “rescue.” As shown through emails exchanged with J.A.K.’s for
 2   each batch of commercially bred puppies, Rescue Pets Iowa willingly implemented
 3   and facilitated these paper transfers under the direction of J.A.K.’s, intending to help
 4   defraud California consumers and state regulators. Each animal “rescued” by Rescue
 5   Pets Iowa came solely from J.A.K.’s.
 6         78.    J.A.K.’s, with the active assistance of Defendants Kirk and TBHF LLC,
 7   arranged the puppies’ veterinary inspection and care prior to transport to another out-
 8   of-state “rescue.”
 9         79.    J.A.K.’s also retained physical control over the puppies selected for
10   “rescue.” The dogs never left J.A.K.’s’ facility until a transport company, Defendant
11   Subject Enterprise, arrived to deliver them out of state.
12         80.    Indeed, many of the Certificates of Veterinary Inspection required for
13   interstate transport of each shipment of puppies purportedly sent from Rescue Pets
14   Iowa to California were signed by Jolyn Noethe, even though she had no official role
15   in the operation of Rescue Pets Iowa. This was done with Rescue Pets Iowa’s
16   knowledge and acquiescence, achieving its intention to defraud California consumers.
17         81.     At all times, Defendants Noethe and Dolphin were Rescue Pets Iowa’s
18   main contacts at J.A.K.’s. They both exchanged electronic mails with Rescue Pets
19   Iowa’s owner, Defendant Kirk, to coordinate the puppy laundering scheme. They also
20   each provided Rescue Pets Iowa with money for its involvement in the scheme. On
21   April 23, 2019, Defendants Noethe and Dolphin each sent Defendant Kirk $12,500 via
22   electronic bank transfer.
23         82.    In March 2019, a California corporation named Volar Society for the
24   Prevention of Cruelty to Animals and the non-profit Bailing Out Benji sued
25   Defendants Rescue Pets Iowa and Russell Kirk over their illegal, fraudulent sales of
26   puppy mill puppies in violation of Cal. Health & Safety Code § 122354. (“Volar
27   Lawsuit”). In settling that lawsuit on October 6, 2021, Kirk agreed to refrain from re-
28   organizing Rescue Pets Iowa or any other non-profit animal rescue organization and
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 1   agreed with Rescue Pets Iowa to refrain from acquiring, selling, or supplying any dogs
 2   to Bark Adoptions, non-profits, animal rescue organizations, or pet stores in
 3   California.
 4         83.     Similarly, as a condition of the resolution of the Iowa AG lawsuit,
 5   Rescue Pets Iowa Corp. was forced to dissolve, which it did in October 2019.
 6         84.     If they had not been caught and sued, Kirk and Rescue Pets Iowa Corp.
 7   would have continued their fraudulent, illegal activities. Indeed, Rescue Pets Iowa’s
 8   principal, Defendant Kirk, continued to participate in the puppy laundering scheme
 9   after the corporation was dissolved.
10         85.     Defendant Kirk’s involvement in the puppy laundering ring continued
11   through his operation of Defendant TBHF LLC, an Iowa limited liability company
12   serving the pet trade industry. Defendant Kirk runs TBHF LLC with his brother, who
13   is also Defendant Noethe’s romantic partner.
14         86.     Defendants J.A.K.’s, Kirk, Rescue Pets Iowa, and TBHF LLC knowingly
15   coordinated to create invoices and meet USDA reporting requirements for the
16   shipment and sale of puppies, which allowed them to track groups of commercially
17   bred puppies acquired by J.A.K.’s from purchase, to delivery, to their final
18   destinations for sale as rescued animals in California pet stores after the Puppy Mill
19   Ban came into effect.
20         87.     For example, Defendant TBHF LLC created documents tracking which
21   dogs from what commercial breeders would be transferred to Defendant Rescue Pets
22   Iowa; documents noting the breed and sex of dogs to enable the California pet stores
23   to select which to order; and documents facilitating the transport of the dogs into
24   California. TBHF LLC also paid for the veterinary inspections associated with the
25   Certificates of Veterinary Inspection needed for the puppies’ interstate transport from
26   Rescue Pets Iowa to California. TBHF LLC at all times knowingly implemented
27   decisions of the Enterprise’s upper management regarding each of these actions in
28   order for the Enterprise to transport the commercially bred puppies into California for
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 1   sale as “rescues” to California consumers following the Puppy Mill Ban’s effective
 2   date.
 3           88.    TBHF LLC and Defendants intended for TBHF LLC’s actions to help
 4   Defendants defraud California consumers into purchasing commercially sourced
 5   puppies marketed as “rescues” after the Puppy Mill Ban went into effect.
 6           89.    Defendants J.A.K.’s, Kirk, Rescue Pets Iowa, and TBHF LLC had
 7   worked together before in laundering puppies in attempts to circumvent puppy mill
 8   bans and deceive consumers. Years earlier, TBHF LLC played a similar role when it
 9   facilitated the laundering of puppies through Hobo K-9 Rescue into Chicago and
10   California, among other markets.
11           iii.   J.A.K.’s, Kirk, and Rescue Pets Iowa Arrange the Transport of
12                  Puppies to California through Subject Enterprise, Inc.
13           90.    As part of laundering the commercially bred puppies through Defendant
14   Rescue Pets Iowa for sale as “rescues” to California consumers, Defendants J.A.K.’s,
15   Kirk, and TBHF LLC arranged for the transport of animals to California. They
16   coordinated with Defendant Subject Enterprise (Noethe’s nephew, Defendant Coda
17   Subject, and his transport company, Subject Enterprise, Inc.) to pick up the animals
18   from J.A.K.’s facility and truck them to California.
19           91.    Subject Enterprise, Inc., the transportation company created by
20   Defendant Coda Subject, was incorporated on June 1, 2018, six months before the
21   Puppy Mill Ban’s effective date. Subject Enterprise began shipping puppies for
22   J.A.K.’s that year, including into California.
23           92.    Subject Enterprise is intimately linked with J.A.K.’s. Subject Enterprise
24   used vehicles it acquired from J.A.K.’s weeks after incorporating and finances its
25   business operations with loans guaranteed by Defendants Noethe and Dolphin.
26   Subject Enterprise primarily (if not exclusively) transported puppies brokered by
27   Defendant J.A.K.’s. In addition to transporting the puppies, Subject Enterprise played
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 1   an essential role in the scheme by collecting, concealing, and distributing funds among
 2   Defendants and co-conspirators, as further described below.
 3         93.    Subject Enterprise at all times knowingly implemented decisions of the
 4   Enterprise’s upper management regarding the transportation of commercially bred
 5   puppies into California for sale as “rescues” to California consumers following the
 6   Puppy Mill Ban’s effective date. As discussed below, Subject Enterprise transported
 7   puppies directly from puppy mills to J.A.K.’s, from J.A.K.’s to sham rescues, and
 8   finally from sham rescues to California pet stores. Involved in each part of this chain,
 9   Subject Enterprise implemented the transportation under the direction of J.A.K.’s and
10   knowing they would be sold as “rescues” to unwitting California consumers.
11         94.    Subject Enterprise knew the puppies transported from J.A.K.’s were sent
12   to California to be sold deceptively as “rescues.” On information and belief, Subject
13   Enterprise even transported the Certificates of Veterinary Inspection required for
14   interstate transport of the puppies sent from Rescue Pets Iowa to California pet stores
15   but signed by Defendant Noethe, indicating the true provenance of the puppies.
16          iv.   J.A.K.’s, Kirk, Rescue Pets Iowa, and Subject Enterprise Launder
17                the Puppies through a Second Sham Non-Profit.
18         95.    After laundering the puppies’ legal title through Rescue Pets Iowa,
19   J.A.K.’s directed Subject Enterprise to take them to Bark Adoptions, a sham nonprofit
20   in California.
21         96.    Defendant Bark Adoptions was a key thoroughfare in California for
22   J.A.K.’s eventual sales in California pet stores. Defendants Stephanie Vaughn and
23   Ana Diaz formed Bark Adoptions in November 2018. Defendant Vaughn met
24   Defendant Kirk while visiting family in Iowa, and thereafter served as the point
25   person for Rescue Pets Iowa. She handled all communications with Defendant Kirk,
26   including through electronic mail, for the placement of “rescued” animals sourced
27   from private breeders through J.A.K.’s. Defendant Vaughn even chose which
28   California pet stores to send the puppies to. Bark Adoptions at all times knowingly
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 1   implemented decisions of the Enterprise’s upper management regarding the funneling
 2   of commercially bred puppies into California for sale as “rescues” to California
 3   consumers following the Puppy Mill Ban’s effective date.
 4         97.    Like Rescue Pets Iowa, Bark Adoptions functioned as a paper waystation
 5   so that the puppies from J.A.K.’s’ distribution for ultimate sale could receive the
 6   veneer of a nonprofit “that does not obtain animals from breeders or brokers for
 7   compensation,” Cal. Health & Safety Code § 122354.5 (amended 2021), without ever
 8   obtaining physical custody of the puppies. Under the direction of the Enterprise’s
 9   upper management, Bark Adoptions was formed to intentionally disguise
10   commercially bred puppies who would be sold as “rescues” while the Puppy Mill Ban
11   was in effect.
12         98.    Though stylized as a rescue, Bark Adoptions never fostered puppies. It
13   never had an individual human adopter rescue one of its puppies, and stated it was
14   “not open to the public.”
15         99.    Bark Adoptions only rescued approximately five dogs from a source
16   providing true homeless or unwanted animals in total. On information and belief,
17   Bark Adoptions intended to use these few bona fide rescues as a front to help conceal
18   the sham nature of its operation.
19         100. Bark Adoptions’ primary purpose was not to serve as a rescue of
20   homeless animals, but to help launder and facilitate the sale of J.A.K.’s puppy mill
21   puppies in California pet stores after the Puppy Mill Ban became effective,
22   intentionally deceiving consumers and state regulators.
23         101. Bark Adoptions was compensated for performing its role in Defendants’
24   California puppy laundering scheme. Bark Adoptions received substantial payments
25   for each puppy it “rescued” from J.A.K.’s, despite having little to no overhead and
26   almost no custody or care over the puppies sent briefly to its physical location.
27         102. The San Diego Humane Society and San Luis Obispo County Animal
28   Services conducted investigations in early 2019 that identified Bark Adoptions’
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 1   prominent role in the puppy laundering scheme. The investigations cite Certificates of
 2   Veterinary Inspection that show nearly all the dogs supplied by Bark Adoptions to
 3   California pet stores were purebred or designer puppies less than three months old.
 4   See, e.g., ABC 10 NEWS, San Diego Humane Society Uncovers ‘Puppy Laundering
 5   Scheme,” (Feb. 21, 2019),
 6   https://www.youtube.com/watch?v=iTIj9T3Ic14&app=desktop. To those familiar
 7   with the puppy mill industry, these characteristics suggested the puppies were not
 8   “rescues” but in fact from puppy mill breeders’ and brokers’ regular inventory.
 9         103. When investigations into Bark Adoptions’ role in the sale of puppy mill
10   animals in California began in early 2019, J.A.K.’s and Defendant Kirk apparently
11   sought cover by diverting a portion of their puppy laundering to Defendant Pet
12   Connect Rescue.
13         104. Based in Joplin, Missouri, Pet Connect Rescue was founded in January
14   2018 by Defendants Ray and Alysia Rothman, previous pet store owners who had
15   acquired puppies directly from J.A.K.’s for sale in their Connecticut store.
16         105. Pet Connect Rescue functioned as an additional or alternative sham
17   rescue through which J.A.K.’s,’ Rescue Pets Iowa, and Defendant Kirk would ship
18   J.A.K.’s puppies into California.
19         106. Pet Connect Rescue assumed a more prominent role in the California
20   laundering scheme after Bark Adoptions asked Defendant Ray Rothman, Pet Connect
21   Rescue’s operator, to ship puppies to California pet stores in early 2019.
22         107. Rescue Pets Iowa, through Defendant Kirk and under the direction of the
23   Enterprise’s upper management, contacted Defendant Ray Rothman by telephone and
24   electronic mail to offer J.A.K.’s’ puppies as a source of these so-called rescues.
25         108. Pet Connect Rescue merely served as another layer of a sham rescue to
26   conceal the true origin of J.A.K.’s puppies. Pet Connect Rescue did not host adoption
27   events or provide any other rescue services to the puppies sent from J.A.K.’s through
28   Rescue Pets Iowa, things which real rescues typically perform.
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 1         109. Like Bark Adoptions, Pet Connect Rescue never took physical custody of
 2   the puppies it received from J.A.K.’s through Rescue Pets Iowa. In fact, it could not
 3   take physical custody because Pet Connect Rescue existed solely on paper, with no
 4   physical location.
 5         110. Rather, after receiving the legal title to J.A.K.’s puppies, Pet Connect
 6   Rescue sold the puppies to California pet stores including Defendant Animal
 7   Kingdom, arranging for delivery through Defendant Subject Enterprise. Pet Connect
 8   Rescue implemented the sales under the direction of the Enterprise’s upper
 9   management and knowing the puppies would be sold as “rescues” to unwitting
10   California consumers.
11         111. From at least June 2019 to November 2019, J.A.K.’s, with the assistance
12   of TBHF LLC and Defendant Kirk, transferred the title of hundreds of additional
13   puppies to “Choice Puppies” and “Tiffanies LLC,” two dog brokers, which then
14   transferred the title again to Pet Connect Rescue before the dogs were sold to
15   California pet stores. Electronic mails sent from J.A.K.’s to Subject Enterprise in
16   November 2019, as well as documents created by TBHF LLC, reveal that J.A.K.’s and
17   its associates intended the puppies they transferred to Pet Connect Rescue through
18   Choice Puppies and Tiffanies LLC to be sold by pet stores in California. For example,
19   although Tiffanies LLC, Choice Puppies, and Pet Connect Rescue are all located in
20   Missouri, the Enterprise’s upper management instructed Subject Enterprise to
21   transport the batches of puppies whose legal titles were laundered through those
22   entities directly from J.A.K.’s facility in Iowa to Bark Adoptions and pet stores in
23   California.
24          v.     At the Direction of J.A.K.’s and With the Aid of Other Defendants,
25                 Subject Enterprise and Sham Rescue Defendants Funnel
26                 Commercially Bred Puppies to California Pet Stores.
27         112. Using the elaborate, carefully crafted puppy laundering scheme described
28   above, J.A.K.’s and its co-Defendants exported “bunches of pure and designer breeds”
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 1   into California, “apparently replicating the same puppy laundering activities as . . .
 2   Hobo K9 Rescue.” Iowa AG Petition ¶ 64.
 3         113. From at least November 30, 2018, through December 2019, J.A.K.’s,
 4   through and with each’s knowledge of the puppy laundering scheme and in concert
 5   with each other, Subject Enterprise, TBHF LLC, Rescue Pets Iowa, and Pet Connect
 6   Rescue sent more than 2,600 commercially bred puppies to pet stores in California,
 7   either directly or by way of Bark Adoptions. Each transfer by Defendants was
 8   intended to facilitate the deceptive sale of the puppies as “rescues” to California
 9   consumers after the Puppy Mill Ban went into effect.
10         114. In February and March 2019, for example, Pet Connect Rescue
11   “received” approximately 170 animals in four shipments labeled as coming from
12   Rescue Pets Iowa, but in reality sourced from commercial breeders and puppy mills
13   by J.A.K.’s. Pet Connect Rescue then funneled these puppies for sale in California pet
14   stores, including at Defendant Animal Kingdom’s stores.
15         115. Pet Connect Rescue had substantial business funneling puppies into
16   California. In 2019 and 2020, it laundered 8-to-12-week-old puppies from commercial
17   breeders to California pet stores on a weekly basis.
18         116. Bark Adoptions first acquired puppies funneled from J.A.K.’s through
19   Rescue Pets Iowa on November 30, 2018, when it acted as a brief waystation for 57
20   puppies delivered from Iowa by Subject Enterprise. Deliveries occurred on at least
21   three different occasions prior to 2019, ensuring that pet stores would have purported
22   “rescues” in stock on the Puppy Mill Ban’s effective date.
23         117. J.A.K.’s always directed each act of puppy laundering intending, with
24   each of the Defendants and its associates, to contravene the Puppy Mill Ban and
25   deceive California consumers. For example, from at least January 6, 2019, until April
26   28, 2019, Defendant Noethe, through J.A.K.’s’ email account, sent thirteen emails to
27   Defendant Kirk in his role at Defendant Rescue Pets Iowa requesting placement of
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 1   puppies for “rescue,” to which Kirk would signal his consent/agreement to place such
 2   puppies.
 3         118. Intending to deceive California consumers and state regulators with
 4   regards to the puppies’ provenance, Defendant Russell Kirk, on behalf of Rescue Pets
 5   Iowa, emailed Defendant Bark Adoptions at J.A.K.’s’ behest to communicate how
 6   many puppies J.A.K.’s had selected to send there. The emails—which were the only
 7   “rescuing” Rescue Pets Iowa did for J.A.K.’s’ puppies—completed Rescue Pets
 8   Iowa’s role as a conduit through which the dogs’ legal title passed so that they could
 9   be labeled as “rescues” before they reached consumers in California.
10         119. In exchange for these services, Rescue Pets Iowa received money from
11   Defendants Noethe and Dolphin. On April 23, 2019, Defendants Noethe and Dolphin
12   each sent Defendant Kirk, Rescue Pets Iowa’s owner, $12,500 via electronic bank
13   transfer.
14         120. Rescue Pets Iowa also received compensation through the other
15   Defendants’ paid use of TBHF LLC to generate the invoices and documentation
16   necessary to track—and disguise—the puppies’ shipment and sale, specifically
17   Defendants J.A.K.’s, Rescue Pets Iowa, Subject Enterprise, Bark Adoptions, Pet
18   Connect Rescue, and Animal Kingdom. As a result of Kirk’s coordination, including
19   by interstate email on behalf of Rescue Pets Iowa, the use of TBHF LLC by these
20   Defendants generated income for TBHF LLC.
21         121. TBHF LLC was paid in part on a per-dog basis. The more puppies it
22   helped to launder into California, the more money it received from the other members
23   of the scheme. Upon information and belief, Defendant Kirk used the money that he
24   received from his involvement in TBHF LLC to pay for Rescue Pets Iowa’s
25   operational costs, which were necessary to maintain its appearance of legitimacy and,
26   thereby, promote Defendants’ scheme.
27         122. On information and belief, TBHF LLC also paid Kirk with proceeds
28   generated solely from the illegal puppy laundering scheme. For instance, on January
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 1   2, 2019, February 3, 2019, and March 2, 2019, respectively, TBHF LLC transferred
 2   $11,000 to Kirk.
 3         123. From at least November 30, 2018, until December 2, 2019, Bark
 4   Adoptions received weekly shipments of 30–119 puppies from J.A.K.’s through
 5   Rescue Pets Iowa and other Sham Rescues. Bark Adoptions never turned away
 6   animals that J.A.K.’s sent to California via Rescue Pets Iowa and other Sham Rescues.
 7         124. From at least November 30, 2018, until December 2019, Subject
 8   Enterprise transported each shipment of puppies to Bark Adoptions.
 9         125. Each of these shipments were grueling, 30+ hour affairs for the weeks-
10   old puppies transported from Iowa to California.
11         126. Puppies did not survive the trip. According to Subject Enterprise notes, a
12   chihuahua was “dropped and died,” another “puppy died on west coast truck,” and a
13   pet store refused to pay for a puppy who “died in transit.” In addition, when a puppy
14   passed away, Subject Enterprise would note the financial loss for J.A.K.’s.
15         127. For J.A.K.’s, Subject Enterprise, and the Sham Rescues, the puppies’
16   deaths were a routine cost of doing business.
17         128. For the puppies who survived the journey to Bark Adoptions, the trip was
18   not complete. Upon arrival in California, each shipment of puppies from J.A.K.’s and
19   Rescue Pets Iowa and/or Pet Connect Rescue spent two to three hours at Bark
20   Adoption’s physical location—a garage operated out of Defendant Diaz’s home
21   outfitted with 20 dog cages stacked on top of each other. Less than one percent of
22   puppies brought to Bark Adoptions stayed longer than 24 hours before being
23   redirected to pet stores.
24         129. As directed by J.A.K.’s, Subject Enterprise would arrange each shipment
25   of puppies from Bark Adoptions to California pet stores for sale, all done in the same
26   Subject Enterprise vehicle the puppies had arrived in.
27         130. On information and belief, Subject Enterprise and Bark Adoptions knew
28   the puppies’ brief passage through Bark Adoption’s physical location was meant to
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 1   contribute to the concealment of the puppies’ provenance from J.A.K.’s. The
 2   Enterprise directed the passage as a part of its intention to allow pet stores to market
 3   the puppies as “rescues” to California consumers while the Puppy Mill Ban came into
 4   effect.
 5             131. Defendants continued to direct shipments of puppies from the Midwest to
 6   California into 2020. Documents obtained from the State of Iowa show that in January
 7   2020, J.A.K.’s trucked eight eight-week-old designer breed puppies to an animal
 8   dealer based in Jamul, California. In addition, volunteers tracking the shipment of
 9   puppies to Southern California puppy stores obtained evidence that Pet Connect
10   Rescue transferred puppies to a pet store in Santee, California, in May 2020.
11      IV.       California Pet Stores Display the Puppies as “Rescues.”
12             132. As intended by Defendants, Defendants Bark Adoptions and Pet Connect
13   Rescue funneled the puppies acquired by J.A.K.’s to various pet stores in California
14   for sale as “rescues” after the Puppy Mill Ban went into effect, including Defendant
15   Animal Kingdom’s pet stores.
16                i. Defendant Animal Kingdom’s Fraudulent Sales.
17             133. Defendant Animal Kingdom operated at least three retail pet stores in
18   California during J.A.K.’s’ establishment of a puppy laundering ring.
19             134. For years, Defendant Animal Kingdom relied on puppy mill brokers like
20   J.A.K.’s to supply the puppies it sold in pet stores. When the Puppy Mill Ban was
21   being considered by the California legislature, Animal Kingdom owner Defendant
22   Adam Tipton decided to join forces with David Salinas to fight against the proposed
23   bill. Both pet store owners contributed to lobbying efforts against the bill so they
24   could maintain their business model.
25             135. After the law passed, Animal Kingdom knowingly and intentionally
26   agreed to conspire with J.A.K.’s and the other Defendants to circumvent the puppy
27   mill ban and joined J.A.K.’s’ puppy laundering scheme so that it could continue to
28   profit from the sale of weeks-old puppies. Animal Kingdom at all times knowingly
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 1   implemented decisions of the Enterprise’s upper management regarding the funneling
 2   of commercially bred puppies into California for sale as “rescues” to California
 3   consumers following the Puppy Mill Ban’s effective date.
 4            136. Adam Tipton was the co-owner and president of Animal Kingdom’s two-
 5   person board of directors. In that capacity, he decided where the puppies he sold came
 6   from. He decided what representations to make on signs advertising puppies for sale,
 7   including that they were from a “rescue.” He was the point-person on
 8   communications, including electronic mail, telephone calls, and in-person meetings,
 9   with Bark Adoptions and Subject Enterprise. When Animal Kingdom received
10   puppies from Bark Adoptions, Tipton paid Subject Enterprise for the fake transport
11   costs.
12            137. In 2019, Animal Kingdom was a defendant in the Volar Lawsuit,
13   concerning its illegal, fraudulent sales of puppy mill puppies in violation of the Puppy
14   Mill Ban. In settling the Volar Lawsuit, Animal Kingdom agreed to cease acquiring
15   animals from Bark Adoptions, Rescue Pets Iowa, and J.A.K.’s—among others—and
16   to comply with the Puppy Mill Ban. Had Animal Kingdom and Tipton not been sued,
17   they would have continued their illegal puppy laundering activities.
18               ii. Salinas Pet Stores’ Fraudulent Sales.
19            138. Defendants Bark Adoptions and Pet Connect Rescue also funneled the
20   puppies acquired by J.A.K.’s to stores associated with David Salinas. Salinas is a Utah
21   resident and a pet store mogul who owns and operates pet stores in California
22   including Broadway Puppies, The Fancy Puppy, Hello Puppies, Pups & Pets, and
23   National City Puppy. Salinas repeatedly violated the Puppy Mill Ban by sourcing
24   puppies from puppy mills through J.A.K.’s, Rescue Pets Iowa, and Pet Connect
25   Rescue for sale in California pet stores owned by him or companies he owns or
26   manages, including The Puppy Store LLC and Yellow Store Enterprises, LLC.
27            139. Salinas also operates SoCal Puppy Adoptions, Inc. (“SoCal Puppy”).
28   SoCal Puppy is a nonprofit organization organized in California on January 9, 2019,
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 1   to “[f]ind permanent suitable new homes for stray, abandoned, and surrendered dogs.”
 2   SoCal Puppy has shared the same address as Salinas’s pet stores Pups & Pets, located
 3   at 50 Town Center Parkway, Santee CA 92071, and National City Puppy, located at
 4   1430 East Plaza Blvd., Suite E20, National City, CA 91950. SoCal Puppy repeatedly
 5   violated the Puppy Mill Ban by acquiring from one or more of the Defendants
 6   hundreds of puppies and then selling them through Salinas’s pet stores after the Puppy
 7   Mill Ban went into effect.
 8         140. The California stores Broadway Puppies, The Fancy Puppy, Hello
 9   Puppies, Pups & Pets, and National City Puppy, together with The Puppy Store, LLC,
10   SoCal Puppy, and Yellow Store Enterprises, LLC, are hereinafter referred to as the
11   “Salinas Pet Stores.”
12         141. The Salinas Pet Stores at all times knowingly implemented decisions of
13   the Enterprise’s upper management regarding the funneling of commercially bred
14   puppies into California for sale as “rescues” to California consumers following the
15   Puppy Mill Ban’s effective date.
16         142. The Salinas Pet Stores acquired puppies from J.A.K.’s through
17   Defendants Rescue Pets Iowa, Bark Adoptions, and Pet Connect Rescue during 2019
18   through at least May 2020.
19         143. Each of the Salinas Pet Stores also sold puppies from Pet Connect Rescue
20   in 2019 and 2020.
21         144. Richard Robles Pena, the General Manager in charge of acquiring
22   puppies for the Salinas Pet Stores, testified that during 2019 the California stores
23   sometimes obtained their puppies from Pet Connect Rescue.
24         145. In mid-2020, several of the Salinas Pet Stores were cited by local
25   authorities for violating the Puppy Mill Ban and/or enjoined by state courts from
26   continuing their illegal sales. Shortly thereafter, these stores shut down. Had they not
27   been caught and shut down, the Salinas Pet Stores would have continued illegal,
28   fraudulent sales in violation of the Puppy Mill Ban.
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 1             iii. The Chavez Pet Stores’ Fraudulent Sales.
 2         146. Another pet store chain coordinating with Defendants Bark Adoptions
 3   and other Defendants in the puppy laundering scheme was owned and operated by
 4   Amilcar Chavez.
 5         147. Amilcar Chavez is the former Manager and operator of Bark Avenue and
 6   Bark Boutique, two California pet stores that sold weeks-old puppies. He is a brother
 7   of Defendant Ana Diaz, the President of Bark Adoptions. Chavez repeatedly violated
 8   the Puppy Mill Ban by sourcing dogs from puppy mills through J.A.K.’s and Rescue
 9   Pets Iowa for sale in his California pet stores. He is a resident of California.
10         148. Jasmin Ramirez, former Manager at Bark Avenue and Bark Boutique,
11   likewise repeatedly violated the Puppy Mill Ban by sourcing puppies from puppy
12   mills through J.A.K.’s and Rescue Pets Iowa for sale in the pet stores.
13         149. Bark Avenue Pets, LLC (“Bark Avenue”) was a limited liability
14   company located at 200 East Via Rancho Parkway, Escondido, California, 92025, the
15   same address as Bark Avenue, the California pet store and sham rescue owned and
16   operated by Chavez and Ramirez through Bark Avenue Pets, LLC and various other
17   shell entities. The company formed on December 22, 2018, days before the Puppy
18   Mill Ban went into effect. Ramirez was a member of Bark Avenue Pets, LLC. Upon
19   information and belief, Bark Avenue Pets, LLC repeatedly violated the Puppy Mill
20   Ban by acquiring from one or more of the other Defendants hundreds of puppies and
21   then selling them through its pet stores after the Puppy Mill Ban went into effect. Bark
22   Avenue continued participating in the puppy laundering scheme until at least
23   December 2019. On November 5, 2019, November 12, 2019, November 19, 2019,
24   November 25, 2019, and December 2, 2019, for example, Bark Avenue signed so-
25   called adoption agreements with Bark Adoptions for puppies who came from J.A.K.’s.
26         150. Escondido Pets, LLC was a limited liability company located at 200 East
27   Via Rancho Parkway, Escondido, California, 92025, the same address as Bark
28   Avenue, the California pet store and sham rescue owned and operated by Chavez and
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 1   Ramirez through Escondido Pets, LLC and various other shell entities. Chavez was
 2   the sole manager listed for Escondido Pets. Escondido Pets listed its business as a
 3   “[p]et store offering puppies and kittens for sale.” Escondido Pets repeatedly violated
 4   the Puppy Mill Ban by acquiring hundreds of puppies from one of more Defendants
 5   and then selling them through its pet stores after the Puppy Mill Ban went into effect.
 6         151. Bark Boutique & Rescue, LLC (“Bark Boutique”) was a California
 7   limited liability company incorporated in February 2018 and registered at 40820
 8   Winchester Rd. #2320, Temecula, CA 92591, the same address as Bark Boutique, the
 9   California pet store and sham rescue owned and operated by Chavez and Ramirez
10   through Bark Boutique and various other shell entities. Ramirez and Chavez are listed
11   as Bark Boutique’s only managers or members. Bark Boutique’s purpose was listed as
12   “Pet store & rescue.” Bark Boutique repeatedly violated the Puppy Mill Ban by
13   acquiring hundreds of puppies from one or more Defendants and then selling them
14   through its pet stores after the Puppy Mill Ban went into effect.
15         152. Amilcar Chavez, Jazmin Ramirez, Bark Avenue, Escondido Pets, Bark
16   Boutique, and any and all pet stores operated by the same are collectively referred to
17   as “Chavez Pet Stores.”
18         153. The Chavez Pet Stores had done previous business with J.A.K.’s.
19         154. The Chavez Pet Stores at all times knowingly implemented decisions of
20   the Enterprise’s upper management regarding the funneling of commercially bred
21   puppies into California for sale as “rescues” to California consumers following the
22   Puppy Mill Ban’s effective date.
23         155. The Chavez Pet Stores each acquired puppies from J.A.K.’s through
24   Defendants Rescue Pets Iowa and Bark Adoptions during 2019. Puppies marketed as
25   coming from “Bark Adoptions” were being sold as late as December 2019 in at least
26   one Chavez Pet Store.
27         156. In December 2019, a California state court enjoined the Chavez Pet
28   Stores from continuing illegal sales. Soon after, the stores shut down. Had they not
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 1   been caught, the Chavez Pet Stores would have continued illegal, fraudulent sales in
 2   violation of the Puppy Mill Ban.
 3             iv. Puppies 4 Less’s Fraudulent Sales.
 4          157. Puppies 4 Less was yet another pet store that took advantage of the
 5   supply chain of puppy-mill animals sourced from J.A.K.’s following the Puppy Mill
 6   Ban.
 7          158. Puppies 4 Less was a California corporation, owned and operated by
 8   Anita Chavira, that operated a pet store in Temecula, Riverside County at 31285
 9   Temecula Parkway, Suite 180. Puppies 4 Less and Chavira (collectively, “Puppies 4
10   Less”) repeatedly violated the Puppy Mill Ban by acquiring from one or more of the
11   other Defendants hundreds of puppies and then selling them through its pet stores
12   after the Puppy Mill Ban went into effect.
13          159. Puppies 4 Less at all times knowingly implemented decisions of the
14   Enterprise’s upper management regarding the funneling of commercially bred puppies
15   into California for sale as “rescues” to California consumers following the Puppy Mill
16   Ban’s effective date.
17          160. On June 12, 2020, a state court issued a temporary injunction barring
18   Puppies 4 Less from continuing illegal sales “in violation of Health & Safety Code
19   Section 122354.5.” Soon after, the store permanently shut down. Had they not been
20   caught and shut down, Puppies 4 Less would have continued its illegal, fraudulent
21   sales in violation of the Puppy Mill Ban.
22             v. The Pet Stores Uniformly Misrepresented the Puppy Mill Dogs as
23                Rescues
24          161. Defendant Animal Kingdom along with the Salinas Pet Stores, the
25   Chavez Pet Stores, and Puppies 4 Less are collectively referred to as the “Pet Stores.”
26          162. As intended and directed by J.A.K.’s and the other Defendants, after the
27   Puppy Mill Ban went into effect each of the Pet Stores held out the pure and designer
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 1   breed puppies they ordered from J.A.K.’s as “rescues” coming from Defendant Bark
 2   Adoptions or Defendant Pet Connect Rescue.
 3         163. Cage cards uniformly displayed in the Pet Stores in 2019 and 2020 show
 4   puppies coming from “Bark Adoptions Rescue, CA,” and “PetConnect Rescue, Joplin,
 5   MO” or “Rescue Org: Pet Connect, Joplin, Missouri,” when in fact they came from
 6   puppy mills via J.A.K.’s. All Pet Stores consistently and prominently displayed cage
 7   cards with these misrepresentations on the puppies’ cages.
 8         164. For example, on January 27, 2019, a Record of Disposition shows,
 9   J.A.K.’s transferred a Pembroke Welsh Corgi with a birthdate of Nov. 27, 2018 and
10   microchip number 991001001881082 to Rescue Pets Iowa. Later that day, according
11   to Certificates of Veterinary Inspection issued January 28, 2019, an Iowa veterinarian
12   examined that same Corgi, among eighty-eight other puppies, for interstate shipment
13   from Rescue Pets Iowa to Bark Adoptions.
14         165. Defendant Animal Kingdom then displayed this Corgi for sale in one of
15   its California pet stores: a cage card prominently showed a Pembroke Welsh Corgi
16   acquired from “Bark Adoptions Rescue” with a birthdate of Nov. 27, 2018 for sale for
17   $1,999.99, and microchip number 991001001881082. Just like all puppies
18   supposedly “rescued” by Rescue Pets Iowa, the puppy came from J.A.K.’s, which
19   sourced the dog from a puppy mill or private breeder.
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12         166. Similar cage cards displayed in the Pet Stores in 2019 and 2020 show
13   puppies coming from “Pet Connect Rescue, MO,” when in fact they came to Pet
14   Connect Rescue from J.A.K.’s via Rescue Pets Iowa.
15         167. For example, a cage card offering a Siberian Husky puppy for sale in one
16   of Animal Kingdom’s California pet stores for $1,599.99 listed a microchip number of
17   991001001874508 and a birthdate of Dec. 8, 2018.
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           168. A Siberian Husky puppy with the microchip number 991001001874508
27
     and a date of birth of Dec. 7, 2018, is marked on a Certificate of Veterinary Inspection
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 1   issued February 10, 2019, transferring puppies from Rescue Pets Iowa to Pet Connect
 2   Rescue. The puppy also came from J.A.K.’s.
 3           169. As another example, on December 15, 2019, Salinas’s store Town
 4   Puppies in Temecula, displayed a puggle puppy in a cage with a cage card stating that
 5   he was from Pet Connect Rescue.
 6           170. As yet another example, in May of 2020, cage cards at Salinas’s store
 7   Pups & Pets in Santee, California offered nine-week-old pure-bred puppies acquired
 8   from Pet Connect Rescue:
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18           171. Salinas’s store National City Puppy likewise prominently displayed the

19   name Pet Connect Rescue on the cage cards for puppies who came from J.A.K.’s.

20      V.      Pet Stores Transmit Money to Bark Adoptions for J.A.K.’s Brokered

21              Puppies.

22           172. Bark Adoptions asked the pet stores with whom it did business to sign

23   “Adoption Agreements.”

24           173. The Adoption Agreements required the pet stores, including Defendant

25   Animal Kingdom, to make a $65–70 contribution to Bark Adoptions in exchange for

26   each puppy they received. The money was supposed to be “immediately used to pay

27   the ongoing costs of rescuing unwanted, undesired and flawed animals,” despite Bark

28   Adoptions having received nearly all of its dogs from J.A.K.’s.
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 1           174. Because Bark Adoptions kept 99 percent of its rescued puppies for less
 2   than 3 hours before sending them to a pet store and it operated out of Diaz’s garage, it
 3   profited considerably from the fees associated with each sham pet store’s “adoption.”
 4           175. Between December 22, 2018, and March 19, 2019, for example,
 5   Defendant Animal Kingdom entered into so-called “Adoption Agreements” with Bark
 6   Adoptions for the acquisition of 143 puppies. Animal Kingdom paid nearly $10,000 to
 7   Bark Adoptions, through electronic payments, for the puppies funneled from J.A.K.’s
 8   in Iowa into California, disguised as adoption fees and sterilization deposits. These
 9   sham Adoption Agreements and invoices were designed to give the impression that
10   Animal Kingdom was merely making a $25–$30 donation to Bark Adoptions for the
11   receipt of each dog, along with a $40 “sterilization deposit.” For example, Defendants
12   Bark Adoptions—represented by Defendant Stephanie Vaughn—and Defendant
13   Micada Inc.—represented by Defendant Adam Tipton, entered into one such
14   “Adoption Agreement” on January 1, 2019. According to an Invoice pursuant to that
15   agreement, dated January 8, 2019, Animal Kingdom paid $30 each for twenty-five
16   dogs and $40 each for the sterilization of the twenty-four then-not-yet-sterilized dogs,
17   for a total of $1,710.00. These sham invoices were created by The Pet X Change,
18   which is the alter ego of Defendant TBHF LLC, in furtherance of this scheme to
19   defraud California consumers.
20           176. The Salinas Pet Stores executed at least 39 so-called “Adoption
21   Agreements” between January 8, 2019, and April 2, 2019, with Bark Adoptions for
22   over 330 puppies who came from J.A.K.’s and Rescue Pets Iowa. Each agreement for
23   a batch of puppies was signed by General Manager Richard Robles Pena.
24           177. After April 2, 2019, the Salinas Pet Stores continued to import puppies
25   from Bark Adoptions and Rescue Pets Iowa almost weekly until at least November
26   2019.
27           178. Almost immediately after receiving a delivery of puppies, the Salinas Pet
28   Stores would use PayPal to send thousands of dollars at a time to Bark Adoptions.
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 1          179. The Puppy Store LLC, a Wyoming company owned by Salinas, regularly
 2   sent funds to Bark Adoptions’ PayPal account that noted the payments were for
 3   Broadway Puppies, National City Puppy, Hello Puppies, and The Fancy Puppy.
 4          180. On April 29, 2019, for example, the same day Rescue Pets Iowa shipped
 5   66 puppies to Bark Adoptions and a day before the Salinas Pet Stores executed
 6   adoption agreements regarding the same dogs with Bark Adoptions, The Puppy Store
 7   LLC made four PayPal payments to Bark Adoptions totaling $6,680, with a note of
 8   “National City Puppy, Hello Puppies, Broadway Puppies, and The Fancy Puppy.”
 9          181. In total, from December 21, 2018, until July 9, 2019, The Puppy Store
10   sent at least 41 payments to Bark Adoptions’ PayPal account. The payments ranged
11   from $100 to $6,000 per payment. The 41 payments included four payments in a two-
12   day span, on behalf of National City Puppy, Broadway Puppies, Hello Puppies, and
13   The Fancy Puppy, that totaled more than $20,000.
14          182. Pups & Pets, a California pet store also owned by Salinas, similarly sent
15   funds to Bark Adoptions’ PayPal account.
16          183. Together, the Salinas Pet Stores paid over $90,000 to Bark Adoptions for
17   the puppies funneled from J.A.K.’s in Iowa into California from December 2018 until
18   July 9, 2019, disguised as adoption fees and sterilization deposits and sent to Bark
19   Adoptions’ PayPal account.
20          184. The Chavez Pet Stores, in turn, paid over $7,500 to Bark Adoptions for
21   the puppies funneled from J.A.K.’s in Iowa into California, also disguised as adoption
22   fees and sterilization deposits.
23          185. The Chavez Pet Stores executed at least 39 so-called adoption
24   agreements between January 8, 2019 and April 4, 2019 with Bark Adoptions for over
25   100 puppies who came from J.A.K.’s and Rescue Pets Iowa. Each agreement for a
26   batch of puppies was signed by the same manager, Jasmin Ramirez, often on the same
27   day.
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 1            186. After April 4, 2019, several of the Chavez Pet Stores continued to import
 2   puppies weekly from Bark Adoptions and Rescue Pets Iowa until at least December
 3   2019, and likely for the same or similar fees it had previously paid Bark Adoptions.
 4            187. On information and belief, Puppies 4 Less executed adoption agreements
 5   with Bark Adoptions for at least six deliveries of puppies from J.A.K.’s and Rescue
 6   Pets Iowa.
 7            188. Each payment to Bark Adoptions by the Pet Stores for receipt of puppies
 8   from J.A.K.’s and Rescue Pets Iowa was made for the purpose of deceiving California
 9   consumers and state regulators regarding the true provenance of the puppies.
10      VI.      California Pet Stores Disguise Payments to J.A.K.’s for Commercially
11               Bred Puppies by Routing Money Through Subject Enterprise.
12            189. Before the Puppy Mill Ban, J.A.K.’s accepted payment from California
13   pet stores through PayPal, credit card, cash, or checks made out to J.A.K.’s Puppies.
14   However, in December 2018, with the Puppy Mill Ban looming, J.A.K.’s devised a
15   new payment system which its associates willingly agreed to and carried out.
16   Specifically, to disguise the payments J.A.K.’s continued to receive as compensation
17   for its provision of commercially bred puppies to pet stores—intending for them to be
18   sold as “rescues”—J.A.K.’s and Subject Enterprise instructed the pet stores to
19   intentionally disguise their payments to J.A.K.’s as exorbitant “transport costs” paid to
20   Subject Enterprise.
21            190. The purported “transport costs” were exorbitant. Before the Puppy Mill
22   Ban, pet stores paid $30–65 for Subject Enterprise’s transport of each puppy. After,
23   pet stores paid approximately $900 for the same “transport” of each puppy.
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 1         191. Upon information and belief, J.A.K.’s and the upper management of the
 2   Enterprise directed Subject Enterprise to function as a conduit for the payments.
 3   Subject Enterprise knowingly implemented its role as a conduit through which the pet
 4   store payments made their way back to J.A.K.’s. Subject Enterprise knew the funds
 5   were disguised compensation from the pet stores to J.A.K.’s for the provision of
 6   illegally funneled puppies into California.
 7         192. Subject Enterprise deposited these payments in its account, only to turn
 8   around and pay all but a small cut of those funds to J.A.K.’s.
 9         193. The new system was made possible by Defendant TBHF LLC, which
10   created sham invoices purporting to document “transport costs,” despite knowing that
11   substantially all of the amounts were not for transportation. This was done upon
12   J.A.K.’s request and direction.
13         194. In December 2018, J.A.K.’s directed Subject Enterprise to vet the pet
14   stores’ payments to ensure each check handed to Subject Enterprise employees upon
15   delivering J.A.K.’s puppies to their pet store were “PAYABLE TO SUBJECT
16   ENTERPRISE!!!”
17         195. Subject Enterprise knowingly implemented J.A.K.’s instructions and
18   directed the receipt of the funds from pet stores on behalf of the Enterprise. A partial
19   collection of records from December 2018 to March 2019 demonstrates that Subject
20   Enterprise deposited hundreds of thousands of dollars in supposed “transport costs”
21   from several California-based pet stores, including Defendant Animal Kingdom, in
22   that four month period alone. The payments were made for the pet stores’ receipt of
23   puppy mill puppies from J.A.K.’s.
24
                        DATE            FROM               AMOUNT
25                                                        DEPOSITED
                      12/13/2018    Puppies 4 Less         $3,465.00
26                    12/19/2018    Bark Boutique          $8,000.00
                      12/19/2018    Puppies 4 Less         $4,510.00
27                    12/19/2018    Puppies 4 Less         $1,895.00
28                    12/19/2018    Bark Boutique          $3,680.00
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 1                   12/19/2018 Escondido Pets             $14,350.00
                     12/26/2018 Puppies 4 Less             $5,715.00
 2                   12/26/2018    Animal                  $10,375.00
                                  Kingdom
 3                   1/11/2019 Puppies 4 Less              $8,610.00
                     1/11/2019 Bark Boutique                $560.00
 4                   1/11/2019 Escondido Pets               $350.00
                     1/11/2019     Animal                  $16,015.00
 5                                Kingdom
                     1/11/2019     Animal                  $1,750.00
 6                                Kingdom
                     1/17/2019     Animal                  $21,735.00
 7                                Kingdom
 8                   1/17/2019 Puppies 4 Less              $4,485.00
                     1/17/2019 Bark Boutique               $8,755.00
 9                   1/17/2019 Escondido Pets              $2,350.00
                     1/25/2019 Puppies 4 Less              $2,795.00
10                   1/25/2019 Bark Boutique               $2,545.00
                     1/25/2019      Bark                    $250.00
11                                Adoptions
                     1/31/2019 Puppies 4 Less              $3,960.00
12                   1/31/2019     Animal                  $10,715.00
                                  Kingdom
13                   1/31/2019 Bark Boutique               $3,085.00
                     2/16/2019 Puppies 4 Less               $600.00
14                   2/16/2019 Puppies 4 Less              $2,665.00
                     2/16/2019     Animal                  $17,955.00
15                                Kingdom
                     2/25/2019 Puppies 4 Less              $5,945.00
16                   2/25/2019     Animal                  $10,520.00
                                  Kingdom
17                    3/3/2019     Animal                  $12,365.00
                                  Kingdom
18                   3/11/2019 Puppies 4 Less              $4,865.00
                     3/18/2019     Animal                  $12,635.00
19                                Kingdom
                     3/18/2019 Puppies 4 Less              $4,800.00
20                   3/18/2019    Bark Ave                 $7,585.00
                     3/18/2019    Bark Ave                 $3,325.00
21                   3/18/2019    Bark Ave                 $4,465.00
                     3/21/2019 Puppies 4 Less              $3,665.00
22
                     3/21/2019     Animal                  $17,950.00
23                                Kingdom
24
25         196. On information and belief, payments transferred by California-based pet
26   stores to Subject Enterprise derived entirely from proceeds the pet stores had earned
27   as a part of their sale of commercially bred puppies illegally funneled through the
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 1   Enterprise into California and advertised to California consumers as “rescues”
 2   following the effective date of the Puppy Mill Ban.
 3         197. For example, Defendant Animal Kingdom paid $132,015.00 for the
 4   “transport” of approximately 143 puppies delivered by Defendant Subject Enterprise
 5   from Defendants J.A.K.’s and Rescue Pets Iowa during the first three months of 2019.
 6   This includes at least nine (9) payments to Subject Enterprise that exceeded $10,000.
 7   On information and belief, at least eight (8) of the payments transferred by Animal
 8   Kingdom to Subject Enterprise derived entirely from proceeds Animal Kingdom had
 9   earned as a part of its sale of commercially bred puppies illegally funneled through the
10   Enterprise into California and advertised to California consumers as “rescues.”
11   Defendant Adam Tipton made most payments to Subject Enterprise by check; upon
12   information and belief, Tipton also made electronic payments.
13         198. Defendant Animal Kingdom additionally paid nearly $10,000 to
14   Defendant Bark Adoptions pursuant to the transferred puppies’ “Adoption
15   Agreements.”
16         199. The pet stores’ payments were largely directed to J.A.K.’s. Under the
17   instruction of J.A.K.’s and as directed by Subject Enterprise, the pet stores would
18   hand the check to Subject Enterprise at the time of each puppy delivery, and Subject
19   Enterprise would then deposit the checks in its bank account, after which it directed
20   the transfer of the funds to J.A.K.’s.
21         200. On January 11, 2019, for example, Subject Enterprise deposited checks
22   that it received from Defendant Animal Kingdom as well as from pet stores Puppies 4
23   Less, Bark Boutique, and Escondido Pets for the delivery of puppies. The checks
24   totaled $27,285. On January 28, 2019, Subject Enterprise transferred, by a check
25   signed by Coda Subject, $27,195 to J.A.K.’s. On information and belief, the entirety
26   of the $27,195 transferred by Subject Enterprise to J.A.K.’s derived from proceeds the
27   pet stores earned as a part of their participation in the Enterprise’s illegal funneling of
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 1   puppies into California for sale as “rescues” following the effective date of the Puppy
 2   Mill Ban.
 3         201. On January 17, 2019 and January 25, 2019, similarly, Subject Enterprise
 4   deposited checks that it received from Defendant Animal Kingdom as well as from pet
 5   stores Puppies 4 Less, Bark Boutique, and Escondido Pets for the delivery of puppies.
 6   The checks totaled $42,915. On January 21, 2019, Subject Enterprise transferred, by a
 7   check signed by Coda Subject, $40,830 to J.A.K.’s. On information and belief, the
 8   entirety of the $40,830 transferred by Subject Enterprise to J.A.K.’s derived from
 9   proceeds the pet stores earned as a part of their participation in the Enterprise’s illegal
10   funneling of puppies into California for sale as “rescues” following the effective date
11   of the Puppy Mill Ban.
12         202. Further, on January 21, 2019, on information and belief, Subject
13   Enterprise transferred, by a check signed by Coda Subject, $40,885 to J.A.K.’s.
14   J.A.K.’s deposited this check on January 22, 2019. On information and belief, the
15   entirety of the $40,885 transferred by Subject Enterprise to J.A.K.’s derived from
16   proceeds the pet stores earned as a part of their participation in the Enterprise’s illegal
17   funneling of puppies into California for sale as “rescues” following the effective date
18   of the Puppy Mill Ban.
19         203. Again on March 18, 2019, and March 21, 2019, Subject Enterprise
20   deposited checks that it received from Defendant Animal Kingdom as well as from
21   Puppies 4 Less, and Bark Avenue Puppies for the delivery of puppies. The checks
22   totaled $54,425. A few days later, on March 26, 2019, Subject Enterprise transferred,
23   by a check signed by Coda Subject, $50,065 to J.A.K.’s. On information and belief,
24   the entirety of the $50,065 transferred by Subject Enterprise to J.A.K.’s derived from
25   proceeds the pet stores earned as a part of their participation in the Enterprise’s illegal
26   funneling of puppies into California for sale as “rescues” following the effective date
27   of the Puppy Mill Ban.
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 1         204. On information and belief, Subject Enterprise continued to deposit
 2   checks that it received from Pet Stores, and then transfer those payments to J.A.K.’s,
 3   through at least December 2019.
 4         205. Defendants similarly used Pet Connect Rescue as a conduit to funnel
 5   money from the pet stores to the other defendants. For example, Pet Connect Rescue
 6   would collect enormous transport fees of approximately $800 per puppy from the pet
 7   stores and, upon information and belief, remit the majority of the money to other
 8   Defendants, including J.A.K.’s.
 9         206. On information and belief, J.A.K.’s used the proceeds deposited by
10   Subject Enterprise and generated through the illegal puppy laundering scheme to
11   acquire additional puppies from puppy mills.
12      VII.   Defendants Sell Puppy Mill Dogs to Consumers for Thousands of
13             Dollars under the False Pretense that the Dogs Are “Rescues.”
14         207. Each Defendant as well as the Pet Stores had arrangements to acquire and
15   transfer puppy mill puppies disguised as “rescue” animals for retail sale in California,
16   including at Defendant Animal Kingdom’s stores.
17         208. Under the direction of the Enterprise’s upper management, all
18   Defendants and the Pet Stores knowingly falsified the source of the animals supplied
19   to and sold in California pet stores. Each similarly misrepresented the non-profit status
20   and nature of the businesses of Defendants Bark Adoptions, Rescue Pets Iowa, and
21   Pet Connect Rescue as animal rescue groups. The Defendants together trafficked in
22   the unlawful and unfair scheme of offering animals for sale in California for profit.
23         209. Every customer was exposed to these misrepresentations.
24         210. Under the Puppy Mill Ban, each pet store was required to post a sign “in
25   a conspicuous location on the cage or enclosure of each animal” listing the name of
26   the supposed public animal control agency or shelter, society for the prevention of
27   cruelty to animals shelter, or nonprofit rescue from which each animal was obtained.
28   Cal. Health & Safety Code § 122354.5(c) (2019). The cage cards exposed every
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 1   customer to the misrepresentation that the puppies they were about to buy had been
 2   obtained legally from a bona fide rescue group.
 3         211. For instance, the Chavez and Ramirez operated store Temecula Puppies
 4   posted signs displaying pure bred and designer puppies for sale in February 2019 and
 5   sourced from “Bark Adoptions Menifee.” The cage card shown here, like other cage
 6   cards in Chavez’s stores in 2019, did not explain that Defendant Bark Adoptions
 7   likely obtained this beagle on or around January 28, 2019, from Rescue Pets Iowa and
 8   J.A.K.’s. An image of the cage card is below.
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25         212. The Salinas Pet Stores each displayed similar signs, such as one from
26   February 20, 2019, posted in Broadway Puppies. The card lists a Puggle born
27   December 13, 2018 for sale with his source listed as “Pet Connect Rescue Joplin
28   MO.” The cage card did not share with consumers that Pet Connect Rescue likely
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 1   obtained the pug on or around February 17, 2019, from Rescue Pets Iowa and
 2   J.A.K.’s. An image of the cage card is below.
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           213. Defendant Animal Kingdom similarly posted deceptive signs to sell its
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     puppies in each of its stores in 2019, such as a cage card prominently showing the
24
     Pembroke Welsh Corgi acquired from Bark Adoptions Rescue. An image of the cage
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     card is below.
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           214. In 2019, Puppies 4 Less similarly sold puppies labeled as coming from
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     Defendants Bark Adoptions and Pet Connect Rescue.
13
           215. Every customer was also exposed to the “rescue” misrepresentation at the
14
     time of sale. Cal. Health & Safety Code § 122140(b)(1) (2019) required every pet
15
     store to provide customers with a written statement containing the source of the dog.
16
     A sample disclosure, showing the source of a puppy sold from Animal Kingdom on
17
     March 5, 2019, states the puppy was obtained from “Pet Connect Rescue” and not
18
     from a “Breeder” or “Dealer.” An excerpt of the pet dealer disclosure, which is similar
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     to all other Pet Stores’ disclosures, is below.
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 1         216. The Pet Stores, including Defendant Animal Kingdom, held out their
 2   puppy-mill puppies as rescues, assuring potential consumers they were not obtained
 3   from breeders or brokers for compensation.
 4         217. In addition to the repeated display on cage cards and in dealer disclosures
 5   of the “rescues” each puppy was purportedly obtained from, Pet Store employees
 6   explicitly misrepresented the provenance of the animals being sold.
 7         218. On February 9, 2019, for example, the manager of Defendant Animal
 8   Kingdom’s San Luis Obispo location told an undercover investigator that the store
 9   had a purebred, ten-week-old Corgi for sale for $2,199 but could not provide
10   registration papers attesting to its pedigree because it was from a “rescue.”
11         219. Defendant Animal Kingdom’s Facebook Page stated that all of its
12   puppies were “2019 compliant” because they all “come through rescue groups.” All of
13   the puppies Animal Kingdom sold after the Puppy Mill Ban came from either
14   Defendant Bark Adoptions or Defendant Pet Connect Rescue.
15         220. After 2019, the Salinas Pet Stores advertised their puppies as rescues
16   whose sale was compliant with the Puppy Mill Ban. The Fancy Puppy specifically
17   advertised that they were selling “Rescue” puppies. Broadway Puppies advertised on
18   their website that they “make sure our puppies come from rescue partners only, not
19   puppy mills.” In the store, signs adorning the puppies’ cages identified them as from
20   Bark Adoptions or Pet Connect Rescue.
21         221. The Pet Stores also falsely told customers that some of the dogs were
22   sourced from local shelters. For example, Broadway Puppies would tell a customer
23   that a puppy came from a local shelter, when in reality the dog came from J.A.K.’s.
24         222. As shown in Certificates of Veterinary Inspection signed by Defendant
25   Noethe and large payments from the Pet Stores, including Defendant Animal
26   Kingdom, that were being funneled back to J.A.K.’s through Subject Enterprise as
27   transportation costs, the Pet Stores knew J.A.K.’s ordered the puppies from
28   commercial private breeders and puppy mills for weekly distribution into California
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 1   pet stores. Yet each misrepresented the puppies to consumers as “rescues” needing
 2   rehoming.
 3         223. Under the direction of the Enterprise’s upper management, the Sham
 4   Rescues coordinated and acted in concert with J.A.K.’s and the other Defendants, as
 5   well as the Pet Stores, to launder puppy mill dogs for compensation and personal gain,
 6   intending to sell the puppies as rescues while the Puppy Mill Ban was in effect under
 7   the false pretense that Defendants Bark Adoptions, Rescue Pets Iowa, and Pet Connect
 8   Rescue were animal rescue groups. Bark Adoptions advertised itself through social
 9   media as a nonprofit and local rescue working with shelters, rescues, and adoptive
10   partners.
11         224. Bark Adoptions’ website, maintained by Vaughn, stated:
12         Bark Adoptions started to rescue pet animals from situations where the pet
13         animals are unwanted, undesired or flawed and placed rescue pet animals
           via our rescue partners into secure homes through adoptions or foster care.
14         Our mission is to work with rescues, shelters, humane society’s [sic], and
15         animal care facilities to help home unwanted, undesired, abandoned and
           surrendered strays and pet animals into loving homes via rescue partners,
16         fostering, pet stores, and adoptions. We strive to help pet owners who can’t
17         afford sterilization, and to provide underfunded shelters with donations so
           that they can continue to care for, feed, clean, and house animals.
18
19         225. Defendants perpetrated this scheme for financial gain.
20         226. The Pet Stores, including Defendant Animal Kingdom, regularly sold the
21   puppies obtained from J.A.K.’s for $2,000 and more. The proceeds from these sales
22   were distributed throughout Defendants’ puppy laundering network among Bark
23   Adoptions and Pet Connect Rescue, Subject Enterprise, TBHF LLC and J.A.K.’s and
24   its puppy mill sources. This is far more than the $180 or less for stray and abandoned
25   dogs that animal rescue organizations typically charge as an adoption fee for true
26   rescues. See, e.g., Adoption Rates, Central California SPCA
27   https://www.ccspca.com/support-the-ccspca/adopt/adoption-rates/ (last visited
28   December 15, 2021) (example adoption rate).
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 1         227. Defendants hide the distribution of their profits from the laundering by
 2   referring to them as “donations” or “fees” associated with adoptions, or transport costs
 3   for delivery of the animals from J.A.K.’s to the Pet Stores.
 4      VIII. Plaintiffs Were Deceived into Buying Commercially Bred Puppies.
 5         228. Defendants’ laundering scheme did not only harm the puppies bred in
 6   unsanitary and unsafe conditions and bargained for across state lines. California
 7   consumers also suffered.
 8         229. As the Iowa Attorney General determined, Defendants’ puppy laundering
 9   “deceptively preempts consumers’ concerns about buying dogs bred within puppy
10   mills,” and therefore “inherently entails uninformed purchases by consumers, and
11   unavoidable injuries stemming from lying to consumers – overly and by deliberate
12   omission – about the source of [the] pupp[ies].” Iowa AG Petition at 4.
13         230. Rebecca Carey is a California resident who visited Defendant Animal
14   Kingdom’s Grover Beach location on January 15, 2019, where she purchased Sonnie,
15   a “Cockapoo” (Cocker Spaniel / poodle blend) for approximately $1,800.00.
16         231. Carey believed that Sonnie was a rescue. Carey relied on the card on
17   Sonnie’s cage (shown below) that stated that she had been acquired through “Bark
18   Adoption Rescue” and the purchase documents that indicated the puppy’s source was
19   “Bark Adoption Rescue.” Animal Kingdom staff also told Carey that Sonnie came
20   from a rescue.
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14         232. Carey purchased Sonnie because she believed she was a rescue. Carey
15   would not have purchased Sonnie if she knew she was not a rescue, or that she had
16   been sold in violation of California law. Carey would not have knowingly supported
17   Defendants’ black market puppy trade.
18         233. The paperwork attached to Sonnie’s display cage said that Sonnie was
19   born on October 28, 2018, making her approximately 11 weeks old at the time of
20   purchase. It also showed Sonnie’s microchip number as 991001001879952.
21         234. Certificates of Veterinary Inspection show the same microchip number
22   listed for a female cocker spaniel/poodle blend dog that was transferred from Rescue
23   Pets Iowa to Bark Adoptions on January 7, 2019.
24         235. Bark Adoptions transferred Sonnie to Animal Kingdom.
25         236. Plaintiff Cody Latzer is a California resident who searched for a dog to
26   adopt during the “National Adoption Week” held during February 2019. In his search,
27   Latzer viewed a female Australian cattle dog at one of two Animal Kingdom locations
28   he visited.
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 1         237. At Animal Kingdom, Latzer observed approximately ten to twelve dogs
 2   displayed in glass cages, with prices ranging from $1,200-1,700.
 3         238. Latzer did not adopt any animals during his initial visits to Animal
 4   Kingdom.
 5         239. Around the same time, Latzer had considered adopting a dog from
 6   Woods Humane Society in San Louis Obispo. After his visit, however, the dog he was
 7   interested in was adopted. So, two weeks after his initial visit, Latzer returned to
 8   Animal Kingdom.
 9         240. On March 5, 2019, Latzer purchased the same female Australian cattle
10   dog he had previously seen, “Sadie,” from Defendant Animal Kingdom’s San Luis
11   Obispo location. Including a sterilization deposit and sales tax, the total price came to
12   $1,763.99.
13         241. Latzer believed that Sadie was a rescue. The card on Sadie’s cage stated
14   that she had been acquired through “Pet Connect Rescue,” and the purchase
15   documents similarly listed her source as “Pet Connect Rescue.”
16         242. Latzer purchased Sadie because he believed she was a rescue. Latzer
17   would not have purchased Sadie if he knew she was not a rescue, or that she had been
18   sold in violation of California law. He would not have knowingly supported
19   Defendants’ black market puppy trade.
20         243. The paperwork showed Sadie was born on December 10, 2018, making
21   her less than three months old at the time of purchase. It showed Sadie’s microchip
22   number as 991001001874569.
23         244. Certificates of Veterinary Inspection show the same microchip number
24   listed for a female Australian cattle dog that was transferred from Rescue Pets Iowa to
25   Pet Connect Rescue on February 10, 2019.
26         245. Defendant Pet Connect Rescue transferred Sadie to Defendant Animal
27   Kingdom in California.
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 1         246. The cage cards Carey and Latzer observed, and the adoption documents
 2   they received, are typical of the cage cards and adoption documents that Defendant
 3   Animal Kingdom and the other Pet Stores provided to every customer, including the
 4   representation that the puppies were sourced from a rescue.
 5                            CLASS ACTION ALLEGATIONS
 6         247. This action is maintainable as a class action under Federal Rule of Civil
 7   Procedure 23.
 8         248. The class definition(s) may depend on the information obtained
 9   throughout discovery. Notwithstanding, at this time, Plaintiffs bring this class action
10   and seek certification of the claims and certain issues in this action on behalf of a class
11   of individuals defined as:
12         All persons who, on or after January 1, 2019, purchased dogs in the State
13         of California supplied by J.A.K.’s. Excluded from the Class are (1)
           Defendants and their legal representatives, officers, directors, assigns, and
14         successors; and (2) the judge to whom this case is assigned and the judge’s
15         staff.
16
           249. All members of the class are similarly affected by Defendants’ puppy
17
     laundering and selling scheme.
18
           I.     Numerosity.
19
           250. During the class period, more than 1,500 individuals purchased puppies
20
     in California sourced from J.A.K.’s.
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           251. Consumers in the class are so numerous as to make joinder impracticable,
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     if not impossible. Class members may be notified of the pendency of this action by
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     recognized, Court-approved notice dissemination methods, which may include U.S.
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     Mail, electronic mail, Internet postings, and/or published notice.
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 1         II.      Common Questions of Law and Fact Predominate.
 2         252. There are numerous questions of law and fact that are common to
 3   Plaintiffs and class members that predominate over questions affecting only individual
 4   class members, including:
 5               a. Whether Defendants’ practices for procuring and labeling puppies were
 6                  unfair and/or unlawful in any respect;
 7               b. Whether dogs supplied by J.A.K.’s could be legally sold in California
 8                  after January 1, 2019 merely by being funneled through sham “rescue”
 9                  organizations;
10               c. Whether Defendants’ conduct caused class members damages;
11               d. Whether Defendants’ conduct is deserving of punitive and/or treble
12                  damages;
13               e. Whether Plaintiffs and class members are entitled to injunctive relief.
14         III.     Typicality.
15         253. The claims asserted by Plaintiffs in this action are typical of the claims of
16   all Class Members, as the claims arise from the same course of conduct by
17   Defendants, and the relief sought is common among Class Members. Further, there
18   are no defenses available to Defendants that are unique to Plaintiffs.
19         IV.      Adequacy.
20         254. Plaintiffs will fairly and adequately represent and protect the interests of
21   the Class. Plaintiffs are adequate representatives of the Class because their interests do
22   not conflict with the interests of the Class members they seek to represent, and they
23   have retained counsel competent and experienced in both consumer protection and
24   class action litigation and the Puppy Mill Ban. Plaintiffs and Plaintiffs’ counsel will
25   fairly and adequately protect Class Members’ interests. Undersigned counsel have
26   represented consumers in a variety of actions where they have sought to protect
27   consumers from fraudulent and deceptive practices.
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 1         V.     Predominance and Superiority of Class Action.
 2         255. The prerequisites to maintaining a class action pursuant to Rule 23(b) are
 3   met because questions of law and fact common to each Class Member predominate
 4   over any questions affecting only individual members, and a class action is superior to
 5   other available methods for fairly and efficiently adjudicating the controversy.
 6         256. A class action is superior to other available means for the fair and
 7   efficient adjudication of this controversy. Individual joinder of the Class Members is
 8   not practicable, and questions of law and fact common to the Class predominate over
 9   any questions affecting only individual Class Members. Each Class Member has been
10   damaged and is entitled to recovery as a result of the violations alleged herein.
11         257. Moreover, because the damages suffered by individual members of the
12   Class may be relatively small, the expense and burden of individual litigation would
13   make it difficult or impossible for individual Class Members to redress the wrongs
14   done to them, while an important public interest will be served by addressing the
15   matter as a class action. Class action treatment will allow those persons similarly
16   situated to litigate their claims in the manner that is most efficient and economical for
17   the parties and the judicial system.
18         258. Plaintiffs are unaware of any difficulties in managing this case that
19   should preclude class action.
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 1         VI.     Declaratory and Injunctive Relief.
 2         259. Certification also is appropriate under Rule 23(b) because Defendants
 3   acted, or refused to act, on grounds generally applicable to the Class, thereby making
 4   appropriate the injunctive relief sought on behalf of the Class. Further, given the large
 5   number of purchasers, allowing individual actions to proceed in lieu of a class action
 6   would run the risk of yielding inconsistent and conflicting adjudications.
 7                                FIRST CAUSE OF ACTION
 8     Violations of Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.
 9                                            1962(c)
10                           (By Plaintiffs Against All Defendants)
11         260. Plaintiffs reallege and incorporate by reference each of the allegations of
12   the preceding paragraphs as if set forth fully herein.
13         261. RICO, Section 1962(c) makes it “unlawful for any person employed by
14   or associated with any enterprise engaged in, or the activities of which affect,
15   interstate or foreign commerce, to conduct or participate, directly or indirectly, in the
16   conduct of such enterprise’s affairs through a pattern of racketeering activity.”
17         262. Defendants created and/or participated in the affairs of an illegal
18   enterprise (the “California Puppy Laundering Enterprise”), the direct purpose of
19   which was to deceive regulators and consumers into believing dogs sourced from
20   commercial puppy mills were “rescues” and to profit from their importation and
21   illegal sale in California. Defendants’ acts in furtherance of the California Puppy
22   Laundering Enterprise violate Section 1962(c).
23         263. Defendants are all “persons” under 18 U.S.C. § 1961(3) because they are
24   capable of holding, and do hold, “a legal or beneficial interest in property[.]”
25         264. Defendants are members of and constitute an “association-in-fact”
26   enterprise.
27         265. At all relevant times, the California Puppy Laundering Enterprise: (a) had
28   an existence separate and distinct from each Defendant; (b) was separate and distinct
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 1   from the pattern of racketeering in which Defendants engaged; and (c) was an ongoing
 2   organization consisting of legal entities and individuals, including J.A.K.’s, Subject
 3   Enterprise, and Rescue Pets Iowa, and other entities and individuals associated for the
 4   common purpose of brokering, distributing, and selling puppy mill dogs in California
 5   through sham rescues, deceptive transport routes, transfer documents, invoices, and
 6   payment arrangements, and misleading marketing and labeling, and deriving revenue
 7   and profits from those activities. Each Defendant shared in the benefits derived from
 8   revenue generated by the scheme to defraud California consumers.
 9         266. The California Puppy Laundering Enterprise engaged in and its activities
10   affected interstate commerce because it involved commercial activities across state
11   boundaries, such as brokering and transporting dogs from the Midwest to California
12   and the receipt of monies for sale of those dogs.
13         267. Defendants participated in the operation and management of the
14   California Puppy Laundering Enterprise by directing its affairs, as described herein.
15   While the Defendants participated in, and are members of, the enterprise, they have a
16   separate existence from the enterprise, including distinct legal statuses, different
17   offices and roles, bank accounts, officers, directors, employees, individual
18   personhood, reporting requirements, and financial statements.
19         268. To carry out their scheme to defraud, Defendants conducted or
20   participated in the conduct of the affairs of the California Puppy Laundering
21   Enterprise through a pattern of racketeering activity that: (a) used mail and wire
22   facilities, in violation of 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud); (b)
23   laundered money in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) (promotional money
24   laundering) and 1956(a)(1)(B)(i) (money laundering by concealment); (c) transacted
25   in criminally derived property in violation of 18 U.S.C. § 1957; (d) transferred and
26   received stolen property across state lines, in violation of 18 U.S.C. §§ 2314 (transfer)
27   and 2315 (receipt); and (e) repeatedly violated the Travel Act, 18 U.S.C. §§
28
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 1   1952(a)(1) or 1952(a)(3) (collectively referred to as “Predicate Acts” and described in
 2   more detail above and in paragraphs 269 through 312).
 3                  i.   Mail and Wire Fraud
 4         269. The electronic mail communications, wire transfers, PayPal payments,
 5   and telephone calls set forth in Paragraphs 63 through 206, and Paragraphs 271
 6   through 276 were transmitted by Defendants, and/or were caused to be transmitted or
 7   reasonably foreseen to be caused by Defendants, by means of wire and/or radio
 8   communications in interstate commerce.
 9         270. The deliveries of puppies and monetary instruments to and from Iowa
10   and California set forth in Paragraphs 63 through 206 by Subject Enterprise, a private
11   or commercial interstate carrier, was similarly caused by and/or reasonably
12   foreseeable to every Defendant.
13         271. As set forth in Paragraphs 63 through 246, each Defendant participated in
14   a scheme that relied on the above-described uses of interstate mails and wires. One of
15   the first steps in that scheme, for example, was for the J.A.K.’s Defendants to notify
16   the Rescue Pets Iowa Defendants, by electronic mail communication, of how many
17   puppies were available to be laundered as fake rescues and sold to California
18   consumers. The Rescue Pets Iowa Defendants, in turn, would send interstate
19   electronic mail communications to Bark Adoptions at J.A.K.’s’ behest to
20   communicate how many puppies J.A.K.’s had selected to send there. Sometimes, the
21   Rescue Pets Iowa Defendants would channel their communication with the Bark
22   Adoptions Defendants through the Pet Connect Rescue Defendants, with whom they
23   also communicated by interstate electronic mail communications and telephone calls.
24   Once the Bark Adoptions Defendants knew how many puppies were available for
25   sale, they would send electronic mail communications to the Pet Stores to determine
26   how many puppies they could take. The Bark Adoptions Defendants would then relay
27   that information to the Rescue Pets Iowa Defendants (and, therefore, J.A.K.’s) through
28   interstate electronic mail communications. Each transmission was made by the
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 1   Defendants with the intent to defraud consumers and deceive state regulators about the
 2   provenance of the commercially bred puppies being sold as rescues for compensation
 3   in contravention of the Puppy Mill Ban.
 4         272. After confirming the number of puppies who they would launder into
 5   California as fake rescues, each Defendant communicated with the Subject Enterprise
 6   Defendants to coordinate the interstate transport of puppies. Upon information and
 7   belief, every Defendant communicated, and/or caused or reasonably could foresee
 8   communications, with the Subject Enterprise Defendants through the use of interstate
 9   wire facilities, including telephone calls and electronic mail communications.
10         273. For example, a partial collection of records from January 2019 to
11   September 2019 demonstrates that Defendants coordinated the transfer of puppies
12   from Iowa to California through the following electronic mail communications:
13      DATE       FROM             TO               DESCRIPTION

14
       1/6/2019    jakspuppies@j     info@rescuep Email requesting placement of 98
15                 akspuppies.co     etsiowa.org  puppies.
       7:34pm
16                 m
17     1/6/2019    info@rescuepe     info@barkad      Email requesting placement of 98
18                 tsiowa.org        options.org      puppies on behalf of JAKs.
       7:37pm
19     1/6/2019    info@barkadop info@rescuep Email notifying Rescue Pets Iowa
20                 tions.org     etsiowa.org  that Bark Adoptions had found a
       8:15pm
                                              place for all 98 puppies.
21
       1/6/2019    info@rescuepe     jakspuppies@ Email notifying JAKs that there is
22
                   tsiowa.org        jakspuppies.c a place for all 98 puppies.
       9:16pm
23                                   om
24
25     1/6/2019    info@rescuepe     subjectenterp    Email requesting transport of 98
                   tsiowa.org        rise@gmail.c     puppies to California.
26     9:17pm
                                     om
27
28
                                               -60-
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 1    Upon information and belief, on January 6, 2019, Subject Enterprise sent an
 2    electronic mail to Rescue Pets notifying them that they could transport puppies.
 3
 4    1/13/201    jakspuppies@j     info@rescuep Email requesting placement of 115
 5    9           akspuppies.co     etsiowa.org  puppies.
                  m
 6    9:31pm

 7    1/13/201    info@rescuepe     info@barkad     Email requesting placement of 115
      9           tsiowa.org        options.org     puppies on behalf of JAKs.
 8
      9:32pm
 9
10    1/13/201    info@barkadop info@rescuep Email notifying Rescue Pets Iowa
      9           tions.org     etsiowa.org  that Bark Adoptions had found a
11                                           place for 95-100 puppies.
      9:53pm
12
      1/13/201    info@rescuepe     jakspuppies@ Email notifying JAKs that there is
13
      9           tsiowa.org        jakspuppies.o a place for 95-100 puppies.
14                                  rg
      9:55pm
15
      1/13/201    info@rescuepe     subjectenterp   Email requesting transport of 95-
16    9           tsiowa.org        rise@gmail.c    100 puppies to California.
17                                  om
      10:01pm
18    1/13/201    subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9           se@gmail.com      etsiowa.org  that Subject Enterprise can
19                                               transport puppies.
      10:01pm
20
      1/20/201    jakspuppies@j     info@rescuep Email requesting placement of 60
21    9           akspuppies.co     etsiowa.org  puppies.
22                m
      7:45pm
23    1/20/201    info@rescuepe     info@barkad     Email requesting placement of 60
24    9           tsiowa.org        options.org     puppies on behalf of JAKs.
25    7:48pm
26    1/20/201    info@barkadop info@rescuep Email notifying Rescue Pets Iowa
27    9           tions.org     etsiowa.org  that Bark Adoptions had found a
                                             place for all 60 puppies.
28
                                             -61-
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 1    8:25pm
 2    1/20/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 3    9          tsiowa.org        jakspuppies.c a place for all 60 puppies.
                                   om
 4    8:26pm
 5    1/20/201   info@rescuepe     subjectenterp   Email requesting transport of 60
 6    9          tsiowa.org        rise@gmail.c    puppies to California.
                                   om
 7    8:26pm
 8    1/20/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
 9                                              transport puppies.
      8:27pm
10    1/27/201   jakspuppies@j     info@rescuep Email requesting placement of 90
      9          akspuppies.co     etsiowa.org  puppies.
11
                 m
12    6:59pm

13    1/27/201   info@rescuepe     info@barkad     Email requesting placement of 90
      9          tsiowa.org        options.org     puppies on behalf of JAKs.
14
      7:02pm
15
      1/27/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
16
      9          tions.org     etsiowa.org  that Bark Adoptions had found a
17                                          place for all 90 puppies.
      7:22pm
18
      1/27/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
19    9          tsiowa.org        jakspuppies.c a place for all 90 puppies.
20                                 om
      7:23pm
21
      1/27/201   info@rescuepe     subjectenterp   Email requesting transport of 90
22    9          tsiowa.org        rise@gmail.c    puppies to California.
23                                 om
      7:30pm
24    1/27/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
25                                              transport puppies.
      7:34pm
26
      2/10/201   jakspuppies@j     info@rescuep Email requesting placement of a
27    9          akspuppies.org    etsiowa.org  certain number of puppies.
28
                                            -62-
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 1    7:25pm
 2    2/10/201   info@rescuepe     info@barkad     Email requesting placement of a
 3    9          tsiowa.org        options.org     certain number of puppies on
                                                   behalf of JAKs.
 4    7:28pm
 5    2/10/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
 6    9          tions.org     etsiowa.org  that Bark Adoptions had found a
                                            place for 40 puppies.
 7    8:06pm
 8    2/10/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9          tsiowa.org        jakspuppies.c a place for 40 puppies.
 9
                                   om
10    8:09pm

11    2/10/201   info@rescuepe     subjectenterp   Email requesting transport of 35-40
      9          tsiowa.org        rise@gmail.c    puppies to California.
12                                 om
      8:09pm
13
      2/10/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
14    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
15    10:12pm
      3/10/201   jakspuppies@j     info@rescuep Email requesting placement of 51
16
      9          akspuppies.co     etsiowa.org  puppies.
17               m
      5:45pm
18
      3/10/201   info@rescuepe     info@barkad     Email requesting placement of 51
19    9          tsiowa.org        options.org     puppies on behalf of JAKs.
20
      6:00pm
21
      3/10/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
22    9          tions.org     etsiowa.org  that Bark Adoptions had found a
23                                          place for 43 puppies.
      6:53pm
24    3/10/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
25    9          tsiowa.org        jakspuppies.c a place for 43 puppies.
26                                 om
      6:58pm
27    3/10/201   info@rescuepe     subjectenterp   Email requesting transport of 43
28                                 rise@gmail.c
                                            -63-
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 1    9          tsiowa.org        om              puppies to California.
 2    6:58pm
 3    3/10/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
 4                                              transport puppies.
      7:09pm
 5
      3/16/201   jakspuppies@j     info@rescuep Email requesting placement of 108
 6    9          akspuppies.co     etsiowa.org  puppies.
 7               m
      6:46pm
 8    3/16/201   info@rescuepe     info@barkad     Email requesting placement of 108
 9    9          tsiowa.org        options.org     puppies on behalf of JAKs.
10    6:53pm
11    3/16/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
12    9          tions.org     etsiowa.org  that Bark Adoptions had found a
                                            place for 100 puppies.
13    8:07pm

14    3/16/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9          tsiowa.org        jakspuppies.c a place for 100 puppies.
15
                                   om
      8:09pm
16
17    3/16/201   info@rescuepe     subjectenterp   Email requesting transport of 100
      9          tsiowa.org        rise@gmail.c    puppies to California.
18                                 om
      8:09pm
19
      3/16/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
20    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
21    8:16pm
      3/24/201   jakspuppies@j     info@rescue     Email requesting placement of 40
22
      9          akspuppies.co     petsiowa.org    puppies.
23               m
      7:42pm
24
      3/24/201   info@rescuepe     info@barkad     Email requesting placement of 40
25    9          tsiowa.org        options.org     puppies on behalf of JAKs.
26    7:55pm
27
      3/24/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
28
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 1    9          tions.org         etsiowa.org     that Bark Adoptions had found a
 2                                                 place for all 40 puppies.
      8:32pm
 3
      3/24/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 4    9          tsiowa.org        jakspuppies.c a place for all 40 puppies.
 5                                 om
      8:39pm
 6    3/24/201   info@rescuepe     subjectenterp   Email requesting transport of 28
 7    9          tsiowa.org        rise@gmail.c    puppies to California.
                                   om
 8    8:43pm
 9    3/25/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
10                                              transport puppies.
      1:40am
11    3/31/201   jakspuppies@j     info@rescuep Email requesting placement of 64
12    9          akspuppies.co     etsiowa.org  puppies.
                 m
13    4:29pm

14    3/31/201   info@rescuepe     info@barkad     Email requesting placement of 64
      9          tsiowa.org        options.org     puppies on behalf of JAKs.
15
      4:50pm
16
17    3/31/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
      9          tions.org     etsiowa.org  that Bark Adoptions had found a
18                                          place for all 64 puppies.
      7:19pm
19
      3/31/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
20
      9          tsiowa.org        jakspuppies.c a place for all 64 puppies.
21                                 om
      7:24pm
22
      3/31/201   info@rescuepe     subjectenterp   Email requesting transport of 60
23    9          tsiowa.org        rise@gmail.c    puppies to California.
24                                 om
      7:26pm
25    3/31/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
26                                              transport puppies.
      8:03pm
27
      4/7/2019   jakspuppies@j     info@rescuep Email requesting placement of 40
28
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 1    2:57pm     akspuppies.co     etsiowa.org     puppies.
 2               m
 3    4/7/2019   info@rescuepe     info@barkad     Email requesting placement of 40
                 tsiowa.org        options.org     puppies on behalf of JAKs.
 4    3:24pm
 5    4/7/2019   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
 6               tions.org     etsiowa.org  that Bark Adoptions had found a
      8:27pm
                                            place for all 40 puppies.
 7
      4/7/2019   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 8
                 tsiowa.org        jakspuppies.c a place for all 40 puppies.
      8:37pm
 9                                 om
10    4/7/2019   info@rescuepe     subjectenterp   Email requesting transport of 40
11               tsiowa.org        rise@gmail.c    puppies to California.
      8:37pm
                                   om
12
      4/7/2019   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
13               se@gmail.com      etsiowa.org  that Subject Enterprise can
      8:43pm                                    transport puppies.
14    4/14/201   jakspuppies@j     info@rescuep Email requesting placement of 70
15    9          akspuppies.co     etsiowa.org  puppies.
                 m
16    2:33pm
17    4/14/201   info@rescuepe     info@barkad     Email requesting placement of 70
18    9          tsiowa.org        options.org     puppies on behalf of JAKs.

19    2:47pm
20    4/14/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
      9          tions.org     etsiowa.org  that Bark Adoptions had found a
21
                                            place for all 70 puppies.
      5:19pm
22
23    4/14/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9          tsiowa.org        jakspuppies.c a place for all 70 puppies.
24                                 om
      5:37pm
25
      4/14/201   info@rescuepe     subjectenterp   Email requesting transport of 62
26
      9          tsiowa.org        rise@gmail.c    puppies to California.
27                                 om
      5:47pm
28
                                            -66-
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 1    4/14/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
 2                                              transport puppies.
      5:48pm
 3    4/21/201   jakspuppies@j     info@rescuep Email requesting placement of 60
 4    9          akspuppies.co     etsiowa.org  puppies.
                 m
 5    7:46pm
 6    4/21/201   info@rescuepe     info@barkad     Email requesting placement of 60
 7    9          tsiowa.org        options.org     puppies on behalf of JAKs.

 8    7:50pm

 9    4/21/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
      9          tions.org     etsiowa.org  that Bark Adoptions had found a
10
                                            place for all 60 puppies.
      8:57pm
11
12    4/21/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9          tsiowa.org        jakspuppies.c a place for all 60 puppies.
13                                 om
      9:12pm
14
      4/21/201   info@rescuepe     subjectenterp   Email requesting transport of 60
15
      9          tsiowa.org        rise@gmail.c    puppies to California.
16                                 om
      9:13pm
17
      4/21/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
18    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
19    11:15pm
      4/28/201   jakspuppies@j     info@rescuep Email requesting placement of a
20    9          akspuppies.co     etsiowa.org  certain number of puppies.
21               m
      6:55pm
22
      4/28/201   info@rescuepe     info@barkad     Email requesting placement of a
23    9          tsiowa.org        options.org     certain number of puppies on
24                                                 behalf of JAKs.
      7:05pm
25    4/28/201   info@barkadop info@rescuep Email notifying Rescue Pets Iowa
26    9          tions.org     etsiowa.org  that Bark Adoptions had found a
                                            place for 66 puppies.
27    8:50pm
28
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 1    4/28/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 2    9          tsiowa.org        jakspuppies.c a place for 66 puppies.
                                   om
 3    8:54pm
 4    4/28/201   info@rescuepe     subjectenterp   Email requesting transport of 66
 5    9          tsiowa.org        rise@gmail.c    puppies to California.
                                   om
 6    9:02pm

 7    4/28/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
 8                                              transport puppies.
      9:04pm
 9    5/5/2019   jakspuppies@j     info@rescuep Email requesting placement of 50
                 akspuppies.co     etsiowa.org  puppies.
10    6:14pm
                 m
11
      5/5/2019   info@rescuepe     barkadoption Email requesting placement of 50
12               tsiowa.org        srescue@gma puppies on behalf of JAKs.
      6:22pm
13                                 il.com
14    5/5/2019   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
                 escue@gmail.c etsiowa.org   that Bark Adoptions had found a
15    7:56pm
                 om                          place for all 50 puppies.
16
17    5/5/2019   info@rescuepe     jakspuppies@ Email notifying JAKS that there is
                 tsiowa.org        jakspuppies.c a place for all 50 puppies.
18    7:58pm
                                   om
19
      5/5/2019   info@rescuepe     subjectenterp   Email requesting transport of 40
20               tsiowa.org        rise@gmail.c    puppies to California.
      8:00pm
21                                 om

22    5/5/2019   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
                 se@gmail.com      etsiowa.org  that Subject Enterprise can
23    8:01pm                                    transport puppies.
      5/12/201   jakspuppies@j     info@rescuep Email requesting placement of 50
24    9          akspuppies.co     etsiowa.org  puppies.
25               m
      9:04pm
26    5/12/201   info@rescuepe     barkadoption Email requesting placement of 45
27    9          tsiowa.org        srescue@gma puppies on behalf of JAKs.
28
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 1    9:10pm                       il.com
 2    5/12/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
 3    9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
                 om                          place for all 45 puppies.
 4    9:15pm
 5    5/12/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 6    9          tsiowa.org        jakspuppies.c a place for all puppies.
                                   om
 7    9:31pm
 8    5/12/201   info@rescuepe     subjectenterp   Email requesting transport of 42
      9          tsiowa.org        rise@gmail.c    puppies to California.
 9
                                   om
10    9:35pm
      5/12/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
11    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
12    10:20pm
13    5/19/201   jakspuppies@j     info@rescuep Email requesting placement of 75
      9          akspuppies.co     etsiowa.org  puppies.
14
                 m
      8:27pm
15
      5/19/201   info@rescuepe     barkadoption Email requesting placement of 75
16
      9          tsiowa.org        srescue@gma puppies on behalf of JAKs.
17                                 il.com
      8:31pm
18
      5/19/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
19    9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
20               om                          place for all 75 puppies.
      8:56pm
21
      5/19/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
22    9          tsiowa.org        jakspuppies.c a place for all 75 puppies.
23                                 om
      9:07pm
24    5/19/201   info@rescuepe     subjectenterp   Email requesting transport of 75
25    9          tsiowa.org        rise@gmail.c    puppies to California.
26                                 om
      9:07pm
27    5/19/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
28                                              transport puppies.
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 1    11:07pm
      6/2/2019    jakspuppies@j     info@rescuep Email requesting placement of 85
 2
                  akspuppies.co     etsiowa.org  puppies.
 3    6:45pm
                  m
 4    6/2/2019    info@rescuepe     barkadoption Email requesting placement of 85
 5                tsiowa.org        srescue@gma puppies on behalf of JAKs.
      7:02pm
                                    il.com
 6
 7    6/2/2019    barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
                  escue@gmail.c etsiowa.org   that Bark Adoptions had found a
 8    7:23pm
                  om                          place for all 85 puppies.
 9    6/2/2019    info@rescuepe     jakspuppies@ Email notifying JAKs that there is
10                tsiowa.org        jakspuppies.c a place for all 85 puppies.
      7:33pm
11                                  om

12    6/2/2019    info@rescuepe     subjectenterp   Email requesting transport of 74
                  tsiowa.org        rise@gmail.c    puppies to California.
13    7:53pm
                                    om
14
      6/2/2019    subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
15                se@gmail.com      etsiowa.org  that Subject Enterprise can
      9:53pm                                     transport puppies.
16    6/9/2019    jakspuppies@j     info@rescuep Email requesting placement of 82
17                akspuppies.co     etsiowa.org  puppies.
      12:16am
                  m
18
      6/9/2019    info@rescuepe     barkadoption Email requesting placement of 82
19
                  tsiowa.org        srescue@gma puppies on behalf of JAKs.
      8:19pm
20                                  il.com
21    Upon information and belief, on June 9, 2019, between the hours of 8:19pm and
22    11:43pm, Bark Adoptions sent an electronic mail notifying Rescue Pets Iowa
      that they found a place for 70-80 puppies.
23
      Upon information and belief, on June 9, 2019, Rescue Pets Iowa sent an
24
      electronic mail to JAKs notifying them that there is a place for 70-80 puppies.
25
      6/9/2019    info@rescuepe     subjectenterp   Email requesting transport of 70-80
26                tsiowa.org        rise@gmail.c    puppies to California.
      11:43pm
27                                  om
28    6/9/2019    subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
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 1               se@gmail.com      etsiowa.org  that Subject Enterprise can
      11:45pm                                   transport puppies.
 2    6/23/201   jakspuppies@j     info@rescuep Email requesting placement of 40-
 3    9          akspuppies.co     etsiowa.org  45 puppies.
                 m
 4    10:10pm
 5    6/23/201   info@rescuepe     barkadoption Email requesting placement of 40-
 6    9          tsiowa.org        srescue@gma 45 puppies on behalf of JAKs.
                                   il.com
 7    10:27pm

 8    6/23/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
      9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
 9
                 om                          place for all 40-45 puppies.
      10:28pm
10
11    6/23/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9          tsiowa.org        jakspuppies.c a place for all puppies.
12                                 om
      10:34pm
13
      6/23/201   info@rescuepe     subjectenterp   Email requesting transport of 44
14
      9          tsiowa.org        rise@gmail.c    puppies to California.
15                                 om
      10:41pm
16
      6/23/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
17    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
18    10:55pm
      6/30/201   jakspuppies@j     info@rescuep Email requesting placement of 43
19    9          akspuppies.co     etsiowa.org  puppies.
20               m
      10:16pm
21
      6/30/201   info@rescuepe     barkadoption Email requesting placement of 43
22    9          tsiowa.org        srescue@gma puppies on behalf of JAKs.
23                                 il.com
      10:22pm
24    6/30/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
25    9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
                 om                          place for all 43 puppies.
26    10:33pm
27    6/30/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
28                                 jakspuppies.c
                                            -71-
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 1    9          tsiowa.org        om              a place for all 43 puppies.
 2    10:37pm
 3
      6/30/201   info@rescuepe     subjectenterp   Email requesting transport of 43
 4    9          tsiowa.org        rise@gmail.c    puppies to California.
 5                                 om
      10:37pm
 6    6/30/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
 7                                              transport puppies.
      10:37pm
 8    7/7/2019   jakspuppies@j     info@rescuep Email requesting placement of 70
 9               akspuppies.co     etsiowa.org  puppies.
      9:00pm
                 m
10
      7/7/2019   info@rescuepe     barkadoption Email requesting placement of 70
11
                 tsiowa.org        srescue@gma puppies on behalf of JAKs.
12    9:08pm
                                   il.com
13    7/7/2019   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
14               escue@gmail.c etsiowa.org   that Bark Adoptions had found a
      9:39pm
                 om                          place for all 70 puppies.
15
16    7/7/2019   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
17               tsiowa.org        jakspuppies.c a place for all 70 puppies.
      9:44pm
                                   om
18
      7/7/2019   info@rescuepe     subjectenterp   Email requesting transport of 66
19
                 tsiowa.org        rise@gmail.c    puppies to California.
      9:53pm
20                                 om
21
22    7/7/2019   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
                 se@gmail.com      etsiowa.org  that Subject Enterprise can
23    9:56pm                                    transport puppies.
24    7/14/201   jakspuppies@j     info@rescuet Email requesting placement of 50
      9          akspuppies.co     petsiowa.org puppies.
25               m
      7:51pm
26
      7/14/201   info@rescuepe     barkadoption Email requesting placement of 50
27
      9          tsiowa.org        srescue@gma puppies on behalf of JAKs.
28
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 1    8:07pm                       il.com
 2    7/14/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
 3    9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
                 om                          place for all 50 puppies.
 4    8:19pm
 5    7/14/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 6    9          tsiowa.org        jakspuppies.c a place for all 50 puppies.
                                   om
 7    8:25pm
 8    7/14/201   info@rescuepe     subjectenterp   Email requesting transport of 49
      9          tsiowa.org        rise@gmail.c    puppies to California.
 9
                                   om
10    8:28pm
      7/14/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
11    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
12    8:53pm
13    7/21/201   jakspuppies@j     info@rescuep Email requesting placement of 64
      9          akspuppies.co     etsiowa.org  puppies.
14
                 m
      10:00pm
15
      7/21/201   info@rescuepe     barkadoption Email requesting placement of 55-
16
      9          tsiowa.org        srescue@gma 65 puppies on behalf of JAKs.
17                                 il.com
      10:02pm
18
      7/21/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
19    9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
20               om                          place for all 55-65 puppies.
      10:27pm
21
      7/21/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
22    9          tsiowa.org        jakspuppies.c a place for all 64 puppies.
23                                 om
      10:32pm
24    7/21/201   info@rescuepe     subjectenterp   Email requesting transport of 57
25    9          tsiowa.org        rise@gmail.c    puppies to California.
26                                 om
      10:43pm
27    7/21/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
28                                              transport puppies.
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 1    11:09pm
      7/28/201   jakspuppies@j     info@rescuep Email requesting placement of 100
 2
      9          akspuppies.co     etsiowa.org  puppies.
 3               m
      9:42pm
 4
      7/28/201   info@rescuepe     barkadoption Email requesting placement of 100
 5    9          tsiowa.org        srescue@gma puppies on behalf of JAKs.
 6                                 il.com
      9:47pm
 7
      7/28/201   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
 8    9          escue@gmail.c etsiowa.org   that Bark Adoptions had found a
 9               om                          place for all 100 puppies.
      9:53pm
10    7/28/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
11    9          tsiowa.org        jakspuppies.c a place for all 100 puppies.
12                                 om
      11:00pm
13    7/28/201   info@rescuepe     subjectenterp   Email requesting transport of 58
14    9          tsiowa.org        rise@gmail.c    puppies to California.
                                   om
15    11:26pm
16    7/28/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9          se@gmail.com      etsiowa.org  that Subject Enterprise can
17                                              transport puppies.
      11:27pm
18    8/4/2019   jakspuppies@j     info@rescuep Email requesting placement of 50-
19               akspuppies.co     etsiowa.org  70 puppies.
      7:39pm
                 m
20
      8/4/2019   info@rescuepe     barkadoption Email requesting placement of
21               tsiowa.org        srescue@gma certain number of puppies on
      8:13pm
22                                 il.com       behalf of JAKs.
23    8/4/2019   barkadoptionsr info@rescuep Email notifying Rescue Pets Iowa
24               escue@gmail.c etsiowa.org   that Bark Adoptions had found a
      8:46pm
                 om                          place for all the puppies.
25
      8/4/2019   info@rescuetp     jakspuppies@ Email notifying JAKs that there is
26
                 etsiowa.org       jakspuppies.o a place for all puppies.
      8:59pm
27                                 rg
28
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 1    8/4/2019   info@rescuepe     subjectenterp   Email requesting transport of 50
 2               tsiowa.org        rise@gmail.c    puppies to California.
      11:22pm
                                   om
 3
 4    8/4/2019   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
 5               se@gmail.com      etsiowa.org  that Subject Enterprise can
      11:28pm                                   transport puppies.
 6    8/11/201   jakspuppies@j     info@rescuep Email requesting placement of 120
      9          akspuppies.co     etsiowa.org  puppies.
 7
                 m
      7:40pm
 8
 9    Upon information and belief, on August 11, 2019, between the hours of 7:40pm
      and 10:30 pm, Rescue Pets Iowa sent an electronic mail to Bark Adoptions
10    requesting placement for 120 puppies on behalf of JAKs.
11    Upon information and belief, on August 11, 2019, between the hours of 7:40pm
12    and 10:30pm, Bark Adoptions sent an electronic mail notifying Rescue Pets Iowa
13    that they found a place for all 120 puppies.

14    8/11/201   info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9          tsiowa.org        jakspuppies.o a place for all 120 puppies.
15                                 rg
      10:30pm
16
      8/11/201   info@rescuepe     subjectenterp   Email requesting transport of 65-75
17
      9          tsiowa.org        rise@gmail.c    puppies to California.
18                                 om
      10:36pm
19
      8/11/201   subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
20    9          se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                transport puppies.
21    10:38pm
      8/18/201   jakspuppies@j     info@rescuep Email requesting placement of 55
22    9          akspuppies.co     etsiowa.org  puppies.
23               m
      10:31pm
24
      Upon information and belief, on August 18, 2019, between the hours of 10:31pm
25    and 10:53 pm, Rescue Pets Iowa sent an electronic mail to Bark Adoptions
26    requesting placement for 55 puppies on behalf of JAKs.
27    Upon information and belief, on August 18, 2019, between the hours of 10:31pm
      and 10:53pm, Bark Adoptions sent an electronic mail notifying Rescue Pets Iowa
28
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 1    that they found a place for all 55 puppies.
 2    8/18/201    info@rescuepe     jakspuppies@ Email notifying JAKs that there is
 3    9           tsiowa.org        jakspuppies.c a place for all 55 puppies.
                                    om
 4    10:53pm
 5    8/18/201    info@rescuepe     subjectenterp    Email requesting transport of 54
 6    9           tsiowa.org        rise@gmail.c     puppies to California.
                                    om
 7    10:55pm
 8    8/18/201    subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
      9           se@gmail.com      etsiowa.org  that Subject Enterprise can
 9                                               transport puppies.
      10:56pm
10    8/25/201    jakspuppies@j     info@rescuep Email requesting placement of 70-
      9           akspuppies.co     etsiowa.org  90 puppies.
11
                  m
12    9:39pm

13    Upon information and belief, on August 25, 2019, between the hours of 9:39pm
      and 10:32 pm, Rescue Pets Iowa sent an electronic mail to Bark Adoptions
14
      requesting placement for 70-90 puppies on behalf of JAKs.
15
      Upon information and belief, on August 25, 2019, between the hours of 9:39pm
16    and 10:32pm, Bark Adoptions sent an electronic mail notifying Rescue Pets Iowa
17    that they found a place for all 70-90 puppies.

18    8/25/201    info@rescuepe     jakspuppies@ Email notifying JAKs that there is
      9           tsiowa.org        jakspuppies.c a place for 70-90 puppies.
19
                                    om
      10:32pm
20
21    8/25/201    info@rescuepe     subjectenterp    Email requesting transport of 74
      9           tsiowa.org        rise@gmail.c     puppies to California.
22                                  om
      10:34pm
23
      8/25/201    subjectenterpri   info@rescuep Email notifying Rescue Pets Iowa
24    9           se@gmail.com      etsiowa.org  that Subject Enterprise can
                                                 transport puppies.
25    10:57pm
      9/1/2019    jakspuppies@j     info@rescuep Email requesting placement of 20
26
                  akspuppies.co     etsiowa.org  puppies.
      6:49pm
27                m
28
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 1    Upon information and belief, on September 1, 2019, Rescue Pets Iowa sent an
 2    electronic mail to Bark Adoptions requesting placement for 20 puppies on behalf
      of JAKs.
 3
      Upon information and belief, on September 1, 2019, Bark Adoptions sent an
 4
      electronic mail notifying Rescue Pets Iowa that they found a place for all 20
 5    puppies.
 6    Upon information and belief, on September 1, 2019, Rescue Pets Iowa sent an
 7    electronic mail to JAKs notifying them that there is a place for all 20 puppies.
 8    Upon information and belief, on September 1, 2019, Rescue Pets Iowa sent an
 9    electronic mail to Subject Enterprise requesting transport of 20 puppies to
      California.
10
      Upon information and belief, on September 1, 2019, Subject Enterprise sent an
11    electronic mail to Rescue Pets notifying them that they could transport puppies.
12
13    9/7/2019    jakspuppies@j     info@rescuep Email requesting placement of 65
                  akspuppies.co     etsiowa.org  puppies.
14    10:35pm
                  m
15
      Upon information and belief, on September 7, 2019, Rescue Pets Iowa sent an
16    electronic mail to Bark Adoptions requesting placement for 65 puppies on behalf
17    of JAKs.

18    Upon information and belief, on September 7, 2019, Bark Adoptions sent an
      electronic mail notifying Rescue Pets Iowa that they found a place for all 65
19
      puppies.
20
      Upon information and belief, on September 7, 2019, Rescue Pets Iowa sent an
21    electronic mail to JAKs notifying them that there is a place for all 65 puppies.
22    Upon information and belief, on September 7, 2019, Rescue Pets Iowa sent an
23    electronic mail to Subject Enterprise requesting transport of 65 puppies to
      California.
24
25    Upon information and belief, on September 7, 2019, Subject Enterprise sent an
      electronic mail to Rescue Pets notifying them that they could transport puppies.
26
27
28
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 1             274. Adam Tipton, of Animal Kingdom, with the intent to defraud California
 2   consumers, and with the knowledge that wires would be necessary in furtherance of
 3   the scheme, sent electronic mails to, and received them from Stephanie Vaugh, of
 4   Bark Adoptions, also in furtherance of the scheme. And, because of those electronic
 5   mails, and in furtherance of the scheme, Tipton knew he would and in fact did send
 6   electronic payments to Bark Adoptions. Tipton and Animal Kingdom further knew
 7   that other members of the puppy laundering scheme were sending wires and mails in
 8   furtherance of the scheme.
 9             275. The Defendants made the electronic mail transmissions with the intention
10   of disguising the true provenance of commercially bred puppies being sold as
11   “rescues” in California pet stores for compensation after the Puppy Mill Ban went into
12   effect.
13             276. After Subject Enterprise transported the puppies to the Pet Stores, the Pet
14   Stores paid, and/or caused to be paid, the other Defendants by means of interstate
15   mails and wires. For example, a partial collection of records from December 2018 to
16   July 2019 demonstrates how David Salinas used his Wyoming-based corporation, The
17   Puppy Store LLC, to transmit PayPal payments to Bark Adoptions in California.
18
         DATE          AMOUNT            FROM                TO              NOTE
19                                                                    ACCOMPANYING
                                                                          PAYMENT
20    12/21/2018 $700.00             The Puppy           Bark         Donation
                                     Store               Adoptions
21    12/21/2018 $701.00             The Puppy           Bark         Donation
                                     Store               Adoptions
22    12/21/2018 $699.00             The Puppy           Bark         Donation
                                     Store               Adoptions
23    12/21/2018 $675.00             The Puppy           Bark
24                                   Store               Adoptions
      12/31/2018 $200.00             The Puppy           Bark         Donation National
25                                   Store               Adoptions    City Puppy December
                                                                      2018
26    12/31/2018 $50.00              The Puppy           Bark         Donation The Fancy
                                     Store               Adoptions    Puppy December 2018
27    12/31/2018 $250.00             The Puppy           Bark         Donation National
                                     Store               Adoptions    City Puppy December
28                                                                    2018
                                                  -78-
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 1    12/31/2018 $115.00       The Puppy           Bark          Donation Hello
                               Store               Adoptions     Puppies December
 2                                                               2018
      12/31/2018 $120.00       The Puppy           Bark
 3                             Store               Adoptions
      1/14/2019   $870.00      The Puppy           Bark          Bark Adoptions
 4                             Store               Adoptions
      1/14/2019   $870.00      The Puppy           Bark          Bark Adoptions
 5                             Store               Adoptions
      1/14/2019   $870.00      The Puppy           Bark          Bark Adoptions
 6                             Store               Adoptions
      1/14/2019   $870.00      The Puppy           Bark          Bark Adoptions
 7                             Store               Adoptions
      1/30/2019   $1,500.00    The Puppy           Bark          The Fancy Puppy Dec
 8                             Store               Adoptions     17 + Jan 22
      1/30/2019   $1,369.00    The Puppy           Bark          National City Puppy
 9                             Store               Adoptions     Dec 17 + Jan 22
      1/30/2019   $1,086.00    The Puppy           Bark          Hello Puppies Dec 17
10                             Store               Adoptions     + Jan 22
11    1/30/2019   $1,086.32    The Puppy           Bark          Broadway Puppies
                               Store               Adoptions     Dec 17 + Jan 22
12    2/5/2019    $2,750.00    The Puppy           Bark          Fancy Puppy
                               Store               Adoptions
13    2/5/2019    $1,999.12    The Puppy           Bark          Broadway Puppies
                               Store               Adoptions
14    2/20/2019   $3,150.44    The Puppy           Bark          National City Puppy
                               Store               Adoptions
15    2/20/2019   $2,245.44    The Puppy           Bark          Hello Puppies
                               Store               Adoptions
16    3/25/2019   $2,100.00    The Puppy           Bark          The Fancy Puppy
                               Store               Adoptions
17    3/25/2019   $1,780.00    The Puppy           Bark          National City Puppy
                               Store               Adoptions
18    3/25/2019   $1,465.00    The Puppy           Bark          Broadway
                               Store               Adoptions
19    3/25/2019   $1,260.00    The Puppy           Bark          Hello Puppies
                               Store               Adoptions
20    4/29/2019   $1,705.00    The Puppy           Bark          National City Puppy
                               Store               Adoptions
21    4/29/2019   $1,915.00    The Puppy           Bark          The Fancy Puppy
                               Store               Adoptions
22    4/29/2019   $1,705.00    The Puppy           Bark          Broadway Puppies
                               Store               Adoptions
23    4/29/2019   $1,355.00    The Puppy           Bark          Hello Puppies
                               Store               Adoptions
24    5/8/2019    $2,670.00    The Puppy           Bark          National City Puppy
                               Store               Adoptions
25    5/8/2019    $1,970.00    The Puppy           Bark          Fancy Puppy
                               Store               Adoptions     Donation
26    5/8/2019    $1,680.00    The Puppy           Bark          Broadway Donation
                               Store               Adoptions
27    5/8/2019    $1,360.00    The Puppy           Bark          Hello Puppies
                               Store               Adoptions
28    5/23/2019   $1,680.00    The Puppy           Bark          Broadway Puppies
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 1                                Store                Adoptions
      5/23/2019     $3,280.00     The Puppy            Bark         National City Puppy
 2                                Store                Adoptions
      5/23/2019     $3,000.00     The Puppy            Bark         Fancy Puppy
 3                                Store                Adoptions
      5/23/2019     $2,280.00     The Puppy            Bark         Hello Puppies
 4                                Store                Adoptions
      7/7/2019      $5,840.00     The Puppy            Bark         Fancy Invoices
 5                                Store                Adoptions
      7/7/2019      $4,320.00     The Puppy            Bark         HP Invoices
 6                                Store                Adoptions
      7/9/2019      $6,280.00     The Puppy            Bark         National City
 7                                Store                Adoptions
      7/9/2019      $4,470.00     The Puppy            Bark         Broadway Puppies
 8                                Store                Adoptions
 9         277. The interstate mail and wire transmissions described herein were all
10   made in furtherance and execution of Defendants’ scheme to defraud and a common
11   course of conduct to deceive regulators and consumers and lure consumers into
12   purchasing puppies, which Defendants knew or recklessly disregarded were sourced
13   from puppy mills and sold in violation of the Puppy Mill Ban, despite Defendants
14   holding the puppies out as “rescues.”
15         278. Defendants’ activities constituted a scheme or artifice to defraud or for
16   obtaining money or property by means of false or fraudulent pretenses,
17   representations, promises, or omissions within the meanings of 18 U.S.C. § 1341 and
18   18 U.S.C. § 1343, in which Defendants each conducted or participated knowingly and
19   with the intent to defraud. To achieve their common goals, Defendants hid from
20   regulators, consumers, and the public the true provenance of the dogs they brokered,
21   distributed, and unlawfully sold in California.
22         279. Each Defendant benefited from the fraud: they all received compensation
23   and professional success.
24         280. Defendants knew and intended that government regulators, as well as
25   Plaintiffs and Class members, would rely on the material misrepresentations and
26   omissions made by them about the source of the laundered puppies. Defendants
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 1   further knew and intended that Plaintiffs and Class members would incur costs and
 2   damages as a result.
 3         281. Plaintiffs and Class members did rely on Defendants’ misrepresentations
 4   and omissions about the provenance of the puppy mill dogs as shown by, inter alia,
 5   the fact that Plaintiffs and Class members purchased dogs that should never have been
 6   introduced into the stream of commerce in California and whose fair market value was
 7   far less than what was paid.
 8         282. Each of the interstate mail and wire transmissions described herein is
 9   individually indictable as an act of mail and/or wire fraud under 18 U.S.C. § 1341 and
10   18 U.S.C. § 1343. As such, each constitutes a separate predicate act of “racketeering
11   activity” within the meaning of 18 U.S.C. § 1961(1).
12                 ii.     Money Laundering: Promotional Money Laundering
13         283. By their foregoing conduct set forth in Paragraphs 63 through 246 each
14   Defendant, knowing that the property involved in a financial transaction represented
15   the proceeds of some form of unlawful activity, conducted or attempted to conduct
16   such a financial transaction which in fact involved the proceeds of specified unlawful
17   activity (to wit, mail fraud and wire fraud in violation of 18 U.S.C. § 1341 and 18
18   U.S.C. § 1343, as set forth in Paragraphs 269 through 282; interstate transfer and
19   receipt of money obtained through fraud in violation of 18 U.S.C. §§ 2314–15, as set
20   forth in Paragraphs 299 through 302; and in violation of the Travel Act, 18 U.S.C. §§
21   1952(a)(1) and (3), as set forth in Paragraphs 302 through 304), with the intent to
22   promote the carrying on of such specified unlawful activity, in violation of 18 U.S.C.
23   § 1956(a)(1)(A)(i).
24         284. Each of the wire transfers between financial institutions, checks, PayPal
25   payments, and other transfers of money set forth in Paragraphs 63 through 206, and
26   Paragraphs 271 through 276 involve the use of financial institutions that affect
27   interstate or foreign commerce, or otherwise involve the movement of funds and
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 1   monetary instruments in a way that affects interstate commerce, and therefore
 2   constitute financial transactions.
 3         285. Each Defendant knew the ongoing payments represented the proceeds of
 4   some unlawful activity—the puppy laundering scheme—and such property was in fact
 5   derived from the proceeds of specified unlawful activity of mail fraud and wire fraud
 6   in violation of 18 U.S.C. §§ 1341 & 1343, interstate transfer and receipt of money
 7   obtained through fraud in violation of 18 U.S.C. §§ 2314–15, and in violation of the
 8   Travel Act, 18 U.S.C. § 1952(a)(1), (3).
 9         286. Each Defendant derived revenue and profits from the puppy laundering
10   scheme. Some of the revenue and profits was obtained after completed phases of the
11   puppy laundering scheme’s mail fraud, wire fraud, and Travel Act violations. For
12   example, several of the Defendants generated revenue and profits in the middle of the
13   puppy laundering cycle: after puppies were delivered to the Pet Stores, certain
14   Defendants derived revenue and profits from the payments made by the Pet Stores to
15   Subject Enterprise, and from Subject Enterprise to J.A.K.’s. In addition, all of the
16   Defendants derived revenue and profits from previously completed cycles of the
17   puppy laundering scheme, which involved violations of the mail fraud, wire fraud, and
18   Travel Act statutes.
19         287. Each Defendant used such proceeds to continue to make payments for
20   puppies, their fake adoption costs, their transportation, the laundering of their legal
21   titles, and various operational costs in order to promote the continuation of the puppy
22   laundering scheme, all constituting specified unlawful activity (mail fraud and wire
23   fraud in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 1343, interstate transfer and
24   receipt of money obtained through fraud in violation of 18 U.S.C. §§ 2314–15, and
25   violations of the Travel Act, 18 U.S.C. § 1952(a)(1), (3)).
26         288. The making of each of the payments described herein is individually
27   indictable as an act of promotional money laundering under 18 U.S.C. §
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 1   1956(a)(1)(A)(i). As such, each constitutes a separate predicate act of “racketeering
 2   activity” within the meaning of 18 U.S.C. § 1961(1).
 3                 iii.   Money Laundering: Money Laundering by Concealment
 4         289. By their foregoing conduct set forth in Paragraphs 63 through 246, each
 5   Defendant, knowing that the property involved in a financial transaction represented
 6   the proceeds of some form of unlawful activity, conducted or attempted to conduct
 7   such a financial transaction which in fact involved the proceeds of specified unlawful
 8   activity, to wit, mail fraud and wire fraud in violation of 18 U.S.C. § 1341 and 18
 9   U.S.C. § 1343 (Paragraphs 269 through 282), interstate transfer and receipt of money
10   obtained through fraud in violation of 18 U.S.C. §§ 2314–15, as set forth in
11   Paragraphs 299 through 301, and violations of the Travel Act, 18 U.S.C. § 1952(a)(1),
12   (3) (Paragraphs 302 through 304), knowing that the transaction was designed in whole
13   or in part to conceal or disguise the nature, the location, the source, the ownership, or
14   the control of the proceeds of specified unlawful activity, in violation of 18 U.S.C. §
15   1956(a)(1)(B)(i).
16         290. Each of the wire transfers between financial institutions, checks, PayPal
17   payments, and other transfers of money set forth in Paragraphs 63 through 206, and
18   Paragraphs 271 through 276 involve the use of financial institutions that affect
19   interstate or foreign commerce, or otherwise involve the movement of funds and
20   monetary instruments in a way that affects interstate commerce, and therefore
21   constitute financial transactions.
22         291. Each Defendant knew that the ongoing payments represented the
23   proceeds of some unlawful activity——and such property was in fact derived from the
24   proceeds of mail fraud and wire fraud in violation of 18 U.S.C. §§ 1341 & 1343,
25   interstate transfer and receipt of money obtained through fraud in violation of 18
26   U.S.C. §§ 2314–15, and violations of the Travel Act, 18 U.S.C. §1952(a)(1), (3).
27         292. Each Defendant derived revenue from the puppy laundering scheme,
28   which was obtained through mail fraud and wire fraud and in violation of the Travel
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 1   Act. Each Defendant concealed such proceeds by depositing such proceeds in
 2   financial institutions and using such proceeds in financial institutions by means of
 3   wire transfers, checks, PayPal payments, and other transfers of money to continue to
 4   make payments for puppies, their fake adoption costs, their transportation, the
 5   laundering of their legal titles, and various operational costs in order to promote the
 6   continuation of the puppy laundering scheme.
 7         293. The concealment of the proceeds of the puppy laundering scheme was
 8   accomplished by structuring the payments in a highly unusual manner to avoid
 9   detection and tracing. For example, the pet stores disguised their payments to J.A.K.’s
10   for the purchase of puppies as “transport costs” which were paid to Subject Enterprise.
11   Once Subject Enterprise deposited the fake transport costs into its bank account, it
12   transmitted the payments by wire transfer between financial institutions to J.A.K.’s.
13   The pet stores would make additional payments to the Sham Rescue Defendants
14   disguised as donations, adoption fees, and/or sterilization deposits.
15         294. The making of each of the payments described herein is individually
16   indictable as an act of money laundering by concealment under 18 U.S.C. §
17   1956(a)(1)(B)(i). As such, each constitutes a separate predicate act of “racketeering
18   activity” within the meaning of 18 U.S.C. § 1961(1).
19                 iv.   Monetary Transactions in Property Derived from Unlawful
20                       Activity
21         295. Each Defendant, by participating in the puppy laundering scheme and
22   payments described in Paragraphs 63 through 246 above, knowingly engaged or
23   attempted to engage in monetary transactions in criminally derived property of a value
24   greater than $10,000 that was derived from specified unlawful activity, to wit, mail
25   fraud and wire fraud in violation of 18 U.S.C. §§ 1341 & 1343; interstate transfer and
26   receipt of money obtained through fraud in violation of 18 U.S.C. §§ 2314–15; and in
27   violation of the Travel Act under 18 U.S.C. § 1952(a)(1), (3), all indictable or
28   chargeable under 18 U.S.C. § 1961(1), and that took place in the United States or in
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 1   the special maritime and territorial jurisdiction of the United States, in violation of 18
 2   U.S.C. § 1957.
 3         296. Each Defendant derived revenue and profits from the puppy laundering
 4   scheme. Some of the revenue and profits was obtained after completed phases of the
 5   puppy laundering scheme’s mail fraud, wire fraud, and Travel Act violations. For
 6   example, several of the Defendants generated revenue and profits in the middle of the
 7   puppy laundering cycle: after puppies were delivered to the Pet Stores, certain
 8   Defendants derived revenue and profits from the payments made by the Pet Stores to
 9   Subject Enterprise, and from Subject Enterprise to J.A.K.’s. In addition, all of the
10   Defendants derived revenue and profits from previously completed cycles of the
11   puppy laundering scheme, which involved violations of the mail fraud, wire fraud, and
12   Travel Act statutes.
13         297. Each Defendant used those proceeds to knowingly engage or attempt to
14   engage in monetary transactions of a value greater than $10,000. For example, with
15   the assistance of the other Defendants, the Pet Stores used their criminally derived
16   property that was derived from specified unlawful activity to pay for their purchase of
17   puppies through transactions disguised as “transport costs” that were greater than
18   $10,000 by means of deposits, withdrawals, transfers, or exchanges, in or affecting
19   interstate or foreign commerce, of funds or a monetary instrument by, through, or to a
20   financial institution, to Subject Enterprise, which then transmitted the criminally
21   derived property that was derived from specified unlawful activity by wire transfer
22   between financial institutions to J.A.K.’s.
23         298. Participating in each monetary transaction described herein is thus
24   individually indictable as an act of engaging in monetary transactions in property
25   derived from specified unlawful activity under 18 U.S.C. § 1957. As such, each
26   constitutes a separate predicate act of “racketeering activity” within the meaning of 18
27   U.S.C. § 1961(1).
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 1                 v.     Interstate Transfer and Receipt of Money Obtained Through
 2                        Fraud
 3         299. As described in the foregoing conduct set forth in Paragraphs 63 through
 4   246 above, as part of the scheme to defraud California consumers, and with the intent
 5   to disguise payments to J.A.K.’s as implausibly inflated transport fees to Subject
 6   Enterprise, Defendants transferred and received in interstate commerce money worth
 7   at least $5,000 they knew to be taken by fraud, in violation of 18 U.S.C. §§ 2314–15.
 8         300. Defendants and persons working for and at the direction of Defendants,
 9   and for the benefit of the California Puppy Laundering Enterprise, transferred the
10   proceeds of the illegal sale of puppies from California pet stores, including from
11   Defendants Animal Kingdom and Tipton—money obtained by fraud—to Defendants
12   Subject Enterprise and Coda Subject, who thereafter sent the money to Defendant
13   J.A.K.’s, and thereby to Defendants Noethe and Dolphin.
14         301. These illegal transfers and receipts were made in support of puppy
15   laundering activity that took place from at least November 2018 to December 2019.
16   By way of example, they included:
17                      i. On, January 11, 2019, Defendant Subject Enterprise deposited
18                        $27,285 received in California from California pet stores,
19                        including $1750.00 from Defendant Animal Kingdom, into its
20                        Iowa bank account. As described in Paragraph 200, on information
21                        and belief, on January 28, 2019, as part of the California Puppy
22                        Laundering Enterprise, Subject Enterprise transferred all but $90
23                        of these proceeds of fraudulent sales to J.A.K.’s.
24                  ii. On January 17, 2019 and January 25, 2019, Defendant Subject
25                        Enterprise deposited $42,915 received in California from
26                        California pet stores, including $21,735 from Defendant Animal
27                        Kingdom into its Iowa bank account. As described in Paragraph
28                        201, on information and belief, on January 221, 2019, Subject
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 1                       Enterprise transferred $40,830 to J.A.K.’s.
 2                   iii. On March 18, 2019 and March 21, 2019, Defendant Subject
 3                       Enterprise deposited $54,425 received in California from
 4                       California pet stores, including $30,585 from Defendant Animal
 5                       Kingdom, into its Iowa bank account. As described in Paragraph
 6                       203, on information and belief, on March 26, 2019, Subject
 7                       enterprise transferred $50,065 to J.A.K.’s. Participating in each
 8                       interstate transfer and receipt of money obtained through fraud
 9                       described herein is thus individually indictable under 18 U.S.C. §§
10                       2314–15. As such, each constitutes a separate predicate act of
11                       “racketeering activity” within the meaning of 18 U.S.C. § 1961(1).
12                 vi.   Travel Act (18 U.S.C. § 1952)
13         302. By their foregoing conduct set forth in Paragraphs 63 through 246, each
14   Defendant travelled in interstate commerce, or used the mail or any facility in
15   interstate or foreign commerce or caused or reasonably could foresee that another
16   Defendant would do so, with intent to distribute the proceeds of any unlawful activity
17   or otherwise promote, manage, establish, carry on, or facilitate the promotion,
18   management, establishment, or carrying on, of any unlawful activity, to wit, any act
19   which is indictable under 18 U.S.C. §§ 1956 or 1957.
20         303. Defendants travelled between Iowa, Missouri, and California, used the
21   interstate wire facilities of financial institutions in Iowa, Missouri, and California, and
22   made telephone and electronic mail communications from or to Iowa, Missouri, and
23   California using facilities of interstate commerce, with the intent to distribute the
24   proceeds of—and promote, manage, establish, carry on, or facilitate—the money
25   laundering violations set forth in Paragraphs 283 through 298 above in violation of 18
26   U.S.C. §§ 1956, 1957.
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 1         304. Each such act is individually indictable as a violation of the Travel Act
 2   under 18 U.S.C. §§ 1952(a)(1) or 1952(a)(3). As such, each constitutes a separate
 3   predicate act of “racketeering activity” within the meaning of 18 U.S.C. § 1961(1).
 4         305. Defendants aided and abetted others in the violations of the above laws,
 5   thereby rendering them indictable as principals in the Predicate Acts.
 6         306. Defendants engaged in the Predicate Acts for the purpose of obtaining
 7   money or property including by means of the omissions, false pretense, and
 8   misrepresentations described in the above subsections.
 9         307. Defendants engaged in a pattern of related and continuous predicate acts
10   from at least July 2017 through May 2020, if not longer. Such activity consists of
11   multiple acts of racketeering by each Defendant, is interrelated, not isolated, and is
12   perpetrated for the same or similar purposes by the same persons. The pattern of
13   racketeering activity, as defined by 18 U.S.C. §§ 1961(1) and (5) presents both a
14   history of criminal conduct and a distinct threat of continuing criminal activity. To the
15   extent that some Defendants have stopped participating in the pattern of racketeering
16   activity or changed their methods of doing so, it is only because they have been caught
17   and faced lawsuits and other enforcement actions. If Defendants had not been caught,
18   they would have continued their racketeering activities unchanged.
19         308. The Predicate Acts described herein were made in furtherance of
20   Defendants’ scheme and common course of conduct to deceive regulators and
21   consumers and lure consumers into purchasing puppies, which Defendants knew or
22   recklessly disregarded were sourced from puppy mills and sold in violation of the
23   Puppy Mill Ban, despite Defendants holding the puppies out as “rescues.”
24         309. Defendants knew and intended that government regulators, as well as
25   Plaintiffs and Class members, would rely on the material misrepresentations and
26   omissions made by them about the puppy mill dogs. Defendants further knew and
27   intended that Plaintiffs and Class members would incur costs and damages as a result.
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 1         310. Plaintiffs and Class members relied on Defendants’ misrepresentations
 2   and omissions about the provenance of the puppy mill dogs as shown by, inter alia,
 3   the fact that Plaintiffs and Class members purchased dogs that never should have been
 4   introduced into the stream of commerce in California and whose fair market value was
 5   far less than was paid.
 6         311. By reason of, and as a result of, the conduct of Defendants, and in
 7   particular their pattern of racketeering activity, Plaintiffs and the Class have been
 8   injured including by overpaying for puppy mill dogs whose price was artificially
 9   inflated by deliberate acts of false statements, omissions and concealment and by
10   Defendants’ acts of racketeering.
11         312. Defendants’ violations of 18 U.S.C. § 1962(c) have directly and
12   proximately caused injuries and damages to Plaintiffs and the Class, and Plaintiffs and
13   the Class are entitled to bring this action for three times their actual damages, as well
14   as injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to 18
15   U.S.C. § 1964.
16                               SECOND CAUSE OF ACTION
17     Violations of Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.
18                                            1962(d)
19                             (By Plaintiffs Against All Defendants)
20         313. Plaintiffs reallege and incorporate by reference each of the allegations of
21   the preceding paragraphs as if set forth fully herein.
22         314. Beginning before the Puppy Mill Ban went into effect, Defendants and
23   various other persons, firms, and corporations, including third-party entities and
24   individuals not named as defendants in this Complaint, did unlawfully, knowingly,
25   and intentionally conspire, combine, confederate, and agree together to conduct the
26   affairs of the California Puppy Laundering Enterprise, which was engaged in and
27   which affected interstate commerce through a pattern of racketeering in violation of
28   18 U.S.C. § 1962(c).
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 1         315. Defendants and each member of the conspiracy, with knowledge and
 2   intent, have agreed to the overall objectives of the conspiracy and participated in the
 3   common course of conduct to commit acts of fraud and indecency in procuring,
 4   brokering, transferring, marketing, and selling puppy mill dogs in California.
 5         316. Each Defendant agreed that at least two acts of racketeering activity
 6   would be committed by a member of the conspiracy to further the California Puppy
 7   Laundering Enterprise.
 8         317. It was part of the conspiracy that Defendants and their co-conspirators
 9   would commit numerous acts of racketeering activity in the conduct of the affairs of
10   the California Puppy Laundering Enterprise, including the acts of racketeering
11   described in Paragraphs 268 through 312. These acts constitute a pattern of
12   racketeering as defined by 18 U.S.C. §§ 1961(1) and (5).
13         318. In furtherance of this unlawful conspiracy and to effect its objectives,
14   Defendants committed numerous overt acts, including those set forth in Paragraphs 63
15   through 312 of this Complaint.
16         319. By reason of, and as a result of, Defendants’ conduct, and in particular
17   their violations of 18 U.S.C. § 1962(d), Plaintiffs and the Class have been injured
18   including by overpaying for puppy mill dogs whose price was artificially inflated by
19   deliberate acts of false statements, omissions and concealment and by Defendants’
20   acts of racketeering.
21         320. Defendants’ violations of 18 U.S.C. § 1962(d) have directly and
22   proximately caused injuries and damages to Plaintiffs and the Class, and Plaintiffs and
23   the Class are entitled to bring this action for three times their actual damages, as well
24   as injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to 18
25   U.S.C. § 1964.
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 1                                THIRD CAUSE OF ACTION
 2                     Violation of California Unfair Competition Law,
 3                 California Business & Professional Code § 17200 et seq.
 4                           (By Plaintiffs Against All Defendants)
 5         321. Plaintiffs reallege and incorporate by reference each of the allegations of
 6   the preceding paragraphs as if set forth fully herein.
 7         322. California’s Unfair Competition Law (“UCL”), Cal. Business &
 8   Professional Code § 17200 et seq., proscribes acts of unfair competition, including
 9   “any unlawful, unfair or fraudulent business act or practice and unfair, deceptive,
10   untrue or misleading advertising.”
11         323. By proscribing “unlawful” business practices, the UCL borrows
12   violations of other laws and treats them as unlawful practices that the statute makes
13   independently actionable.
14         324. By proscribing “unfair” business practices, the UCL prohibits conduct
15   that offends established public policy when that conduct is tethered to an underlying
16   constitutional, statutory, or regulatory provision. See Drum v. San Fernando Valley
17   Bar Ass’n, 182 Cal. App. 4th 247, 257 (2010) (unfair business practices under the
18   UCL include those that are “immoral, unethical, oppressive, unscrupulous or
19   substantially injurious to consumers”).
20         325. By proscribing “fraudulent” business practices, the UCL prohibits
21   conduct that is likely to deceive or mislead members of the public.
22         326. The Puppy Mill Ban, Cal. Health & Safety Code § 122354.5, constitutes
23   a public policy to “promote and encourage the availability of shelter animals in
24   California as a source for either adoption or for sale in a pet store establishment,” see
25   A.B. 485, Senate Floor Analyses at 3 (Cal, Sept. 9, 2017), and combat the supply of
26   puppy mill puppies from factory breeders by preventing the sale of puppy mill dogs
27   through pet shops for financial gain.
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 1          327. Defendants’ practices of concealing the provenance of dogs,
 2   misrepresenting the dogs as rescues, selling dogs not “obtained from a public animal
 3   control agency or shelter, society for the prevention of cruelty to animals shelter,
 4   humane society shelter, or rescue group that is in a cooperative agreement with at least
 5   one private or public shelter,” in violation of both the text and the policy of the Puppy
 6   Mill Ban, and using the proceeds of such sales to further their illegal puppy laundering
 7   scheme, violate the UCL.
 8          328. Defendants intentionally and knowingly misrepresented material facts
 9   about the provenance of the puppy mill dogs with an intent to mislead regulators,
10   Plaintiffs, and the Class. Absent the misrepresentations and concealment of material
11   facts enabled by their illegal puppy laundering scheme, Defendants would not have
12   openly sold the puppy mill dogs in California and would not have been able to collect
13   the premium prices they did.
14          329. Plaintiffs and Class Members reasonably relied on Defendants’ false
15   misrepresentations about the dogs’ provenance and the legitimacy of the sales. If
16   Plaintiffs and Class Members had known the truth about the dogs’ provenance and the
17   illegality of their sale, they would not have purchased the dogs or paid the premium
18   prices they did.
19          330. If the puppies Defendants laundered and sold to Plaintiffs and Class
20   Members were in fact “obtained from a public animal control agency or shelter,
21   society for the prevention of cruelty to animals shelter, humane society shelter, or
22   rescue group that is in a cooperative agreement with at least one private or public
23   shelter,” rather than from for-profit puppy mills and Defendants’ laundering operation,
24   Plaintiffs and Class Members would have saved a significant amount of money
25   because legitimate shelters and rescue organizations charge relatively small adoption
26   fees, if anything at all, and typically cover valuable services such as vaccinations and
27   sterilizations.
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 1         331. Absent Defendants’ illegal puppy laundering scheme, Defendants would
 2   not have enticed, offered, or sold puppies and associated accessories, supplies, and
 3   services to Plaintiffs and Class Members, as they would have had no supply of
 4   puppies.
 5         332. Plaintiffs and Class Members have suffered injury in fact and lost money
 6   because of Defendants’ violations of the UCL, including but not limited to the
 7   purchase price of the dogs and the cost of associated accessories, supplies, and
 8   services.
 9         333. Defendants’ violations have been serious, numerous, persistent, and
10   willful, and warrant the maximum penalties allowed by law. Defendants’ assets,
11   liabilities, and net worth likewise warrant the maximum penalties, including an
12   assessment of punitive damages under Cal. Civil Code § 3294.
13         334. To the extent Defendants have not already been permanently enjoined by
14   another court, dissolved, or made an enforceable commitment to cease their illegal
15   puppy laundering activities in California, Defendants’ violations present an ongoing
16   harm and risk of harm to Plaintiffs, the Class, and the public interest.
17         335. Aiding and Abetting. Defendants have independently and collectively
18   engaged in unlawful and unfair business practices in violation of the UCL through the
19   puppy laundering scheme described in this Complaint. All Defendants have
20   committed the requisite actions giving rise to Plaintiffs’ claims. Alternatively, in the
21   remaining paragraphs for this claim, Plaintiffs allege that the Sham Rescue
22   Defendants, Defendant J.A.K.’s, Defendant Kirk, Defendant TBHF LLC, Defendant
23   Coda Subject and Defendant Subject Enterprise are liable for aiding and abetting
24   Defendant Animal Kingdom’s contravention of the UCL by providing substantial
25   assistance and encouragement with knowledge of their wrongful conduct.
26         336. Under the UCL, “[i]t is unlawful for any manufacturer, wholesaler,
27   distributor, jobber, contractor, broker, retailer, or other vendor, or any agent of any
28   such person, jointly to participate or collude with any other such person in the
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 1   violation of this chapter.” Cal. Bus. & Prof. Code § 17048. See also Schulz v. Neovi
 2   Data Corp. (2007) 152 Cal.App.4th 86, 88, 93 (liability under UCL may be imposed
 3   against those who aid and abet UCL violations).
 4         337.   The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda
 5   Subject, and Subject Enterprise personally participated in the laundering of dogs from
 6   puppy mills into California in contravention of the Puppy Mill Ban. The Sham Rescue
 7   Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject, and Subject Enterprise are thus
 8   violating the UCL by aiding and abetting the Pet Stores, such as those operated by
 9   Defendant Animal Kingdom, to directly violate the Puppy Mill Ban by acquiring and
10   offering for sale puppy mill dogs falsely labeled as “rescues” for compensation to
11   California consumers, including Plaintiffs and the Class.
12         338. The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject,
13   and Subject Enterprise each exercised unbridled control over their own parts of the
14   unlawful and unfair practices perpetuating the puppy laundering scheme, including the
15   acquisition, transportation, and disposition of puppy mill bred dogs into California for
16   sale at pet stores as “rescues.” These Defendants committed the puppy laundering
17   practices for compensation and private gain.
18         339. The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject,
19   and Subject Enterprise’s active participation in the scheme to launder puppies in
20   violation of the Puppy Mill Ban resulted in the dissemination of the deceptive and
21   untrue representations regarding the true rescue status of the dogs being sold to
22   California consumers, including Plaintiffs and the Class.
23         340. Plaintiffs and Class Members seek restitution for Defendants’ UCL
24   violations, to be accomplished exclusively by a judgment for money that is satisfied
25   from the assets of Defendants by the ordinary procedures of execution. Plaintiffs and
26   Class Members also seek injunctive relief for Defendants’ UCL violations.
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 1                                 FOURTH CAUSE OF ACTION
 2   Violations of California Consumer Legal Remedies Act, Cal. Civil Code § 1770 et
 3                                               seq.
 4                           (By Plaintiffs Against All Defendants)
 5           341. Plaintiffs reallege and incorporate by reference each of the allegations of
 6   the preceding paragraphs as if set forth fully herein.
 7           342. Plaintiffs and Class Members are consumers as defined by the California
 8   Consumer Legal Remedies Act (“CLRA”).
 9           343. Plaintiffs’ and Class Members’ purchases of the puppy mill puppies from
10   the Pet Stores are transactions as defined by the CLRA.
11           344. In violation of several practices declared unlawful by the CLRA, see Cal.
12   Civil Code § 1770, the Pet Stores, including but not limited to Defendant Animal
13   Kingdom, falsely represented to consumers that the dogs they sold were from “rescue
14   organizations” compliant with the Puppy Mill Ban, Cal. Health and Safety Code
15   § 122354.5, when, in reality, the dogs were sourced from puppy mills.
16           345. Aiding and Abetting. The Sham Rescue Defendants, J.A.K.’s, Kirk,
17   TBHF LLC, Coda Subject, and Subject Enterprise participated in the laundering of
18   puppy mill sourced puppies into California in contravention of the Puppy Mill Ban.
19   As such, the Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject, and
20   Subject Enterprise have aided and abetted the Pet Stores, including Defendant Animal
21   Kingdom, to mislead consumers about the “rescue” status of the puppy mill dogs sold
22   to Plaintiff and the Class.
23           346. The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject,
24   and Subject Enterprise each provided substantial assistance and encouragement to the
25   Pet Stores, including Defendant Animal Kingdom, to enable them to sell puppy mill
26   dogs misrepresented as “rescues” to California consumers, including Plaintiffs and the
27   Class, with knowledge that the Pet Stores would misrepresent the true source of the
28   dogs.
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 1         347. J.A.K.’s knowingly acquired puppies from private breeders and puppy
 2   mills, and in concert with Coda Subject, Subject Enterprise, Kirk, TBHF LLC, and the
 3   Sham Rescue Defendants, laundered them through the fake animal rescue groups to
 4   the Pet Stores, including Defendant Animal Kingdom, for sale to unsuspecting
 5   California consumers as Puppy Mill Ban compliant “rescue” animals.
 6         348. The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject,
 7   and Subject Enterprise sourced dogs from puppy mills and arranged for their transport
 8   into California with knowledge of the dogs’ provenance. The Sham Rescue
 9   Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject, and Subject Enterprise had
10   actual knowledge that the puppies picked up for transport after “rescue” were in fact at
11   J.A.K.’s, if temporarily housed away from the puppy mills at all, and then transported
12   into California for sale.
13         349. The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject,
14   and Subject Enterprise perpetuated this scheme to launder dogs sourced from puppy
15   mills for sale as “rescues” at California pet stores, including at Defendant Animal
16   Kingdom, beginning before and continuing well after the effective date of the Puppy
17   Mill Ban.
18         350. The Sham Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject,
19   and Subject Enterprise had actual knowledge that all dogs acquired by J.A.K.’s for
20   transport and sale at California pet stores, including at Defendant Animal Kingdom,
21   were sourced from puppy mills outside of California.
22         351. Even without knowledge of the Pet Stores’ wrongful conduct, The Sham
23   Rescue Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject, and Subject Enterprise
24   are separately responsible for and liable for the CLRA violations by the Pet Stores
25   because they gave the Pet Stores substantial assistance in violating the Puppy Mill
26   Ban, UCL, and CLRA. In addition, The Sham Rescue Defendants, J.A.K.’s, Kirk,
27   TBHF LLC, Coda Subject, and Subject Enterprise’s own conduct, separately
28   considered, is a breach of the duties to Plaintiffs and the Class. The Sham Rescue
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 1   Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject, and Subject Enterprise owed
 2   duties to the Plaintiffs and the Class, including duties to not commit intentional torts,
 3   to avoid exposing Plaintiffs and the Class to foreseeable harms, and a duty to not
 4   injure Plaintiffs and the Class by violating California laws. The Sham Rescue
 5   Defendants, J.A.K.’s, Kirk, TBHF LLC, Coda Subject, and Subject Enterprise
 6   breached these duties with their own tortious conduct, including their active
 7   participation in the scheme to launder puppies in violation of the Puppy Mill Ban, the
 8   UCL, and RICO, as described herein. This conduct resulted in the dissemination of
 9   the deceptive and untrue representations regarding the true “rescue” status of the dogs
10   sold to California consumers, including to Plaintiffs and the Class Members.
11         352. As a result of Defendant Animal Kingdom’s violations of the CLRA,
12   which are aided and abetted by all other Defendants, Plaintiffs and Class Members
13   have been injured and lost money, including but not limited to the purchase price of
14   the dogs and the cost of associated accessories and services.
15         353. Plaintiffs and Class Members reasonably relied on Defendants’ false
16   misrepresentations about the dogs’ provenance and the legitimacy of the sales. If
17   Plaintiffs and Class Members had known the truth about the dogs’ provenance and the
18   illegality of their sale, they would not have purchased the dogs or paid the premium
19   prices they did.
20         354. More than thirty days ago, Plaintiffs, on behalf of themselves and all
21   Class Members, notified Defendants of the CLRA violations alleged herein and
22   demanded that they rectify their violations by providing notice, damages, disgorging
23   profits, and immediately ceasing and refraining from the alleged violations.
24   Defendants have failed to adequately respond to these demands.
25         355. Under California Civil Code § 1780, Plaintiffs, on behalf of themselves,
26   Class Members, and the general public, seek an order from this Court:
27             f. For injunctive relief, requiring all Defendants to disclose to California
28                customers, on their websites and at their stores, that they sell puppies
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 1                who are not sourced from bona fide animal control agencies, shelters, or
 2                rescue groups, and that they are not compliant with California law;
 3             g. For damages, including actual damages and punitive damages; and
 4             h. For restitution, to be accomplished exclusively by a judgment for money
 5                that is satisfied from the assets of Defendants by the ordinary procedures
 6                of execution.
 7                                 FIFTH CAUSE OF ACTION
 8                                      Unjust Enrichment
 9                           (By Plaintiffs Against All Defendants)
10         356. Plaintiffs reallege and incorporate by reference each of the allegations of
11   the preceding paragraphs as if set forth fully herein.
12         357. Defendants have unjustly received and unjustly retained Plaintiffs’ and
13   Class Members’ money by concealing the provenance of dogs, misrepresenting the
14   dogs as rescues, distributing and selling dogs in violation of the Puppy Mill Ban, and
15   selling Plaintiffs and Class Members accessories and services associated with their
16   purchase of dogs. California law does not allow sale of commercially bred dogs for
17   profit, and Defendants have done exactly that, at Plaintiffs’ and Class Members’
18   expense. Plaintiffs and Class Members seek disgorgement of profits for this unjust
19   enrichment, to be accomplished exclusively by a judgment for money that is satisfied
20   from the assets of Defendants by the ordinary procedures of execution.
21         358. Defendants have further unjustly enriched themselves by investing their
22   ill-gotten gains from the misrepresentations and violations alleged herein and using
23   those proceeds to subsidize and continue their various other business ventures,
24   enabling Defendants to make more money than they would have absent their illegal
25   conduct in California. For example, J.A.K.’s and Subject Enterprise Defendants used
26   their illegal conduct in California to subsidize their costs of transporting puppies to the
27   southwest region of the country, and Defendants acknowledge that none of the Pet
28   Stores’ operations in California would have been viable without Defendants’
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 1   violations of the Puppy Mill Ban. Plaintiffs and Class Members seek disgorgement of
 2   profits for this unjust enrichment.
 3                          NO ADEQUATE REMEDIES AT LAW
 4         359. If the Court considers restitution and disgorgement of profits to be
 5   equitable remedies, then Plaintiffs have no adequate remedy at law. For example,
 6   damages would not be adequate, certain, plain, or complete because they do not allow
 7   Plaintiffs to recover the financial profits that Defendants obtained as a result of their
 8   unjust enrichment, which upon information and belief exceed Plaintiffs’ provable
 9   losses. Similarly, disgorgement of profits allows Plaintiffs to recover the proceeds and
10   profits that Defendants have made from investment of their ill-gotten gains and from
11   using those ill-gotten gains to subsidize and continue their various business ventures,
12   including the proceeds from sales to non-Class Members that were enabled by
13   Defendants’ illegal transactions and sales to Class Members. There is no legal remedy
14   that allows Plaintiffs to do the same.
15                                     REQUEST FOR RELIEF
16         360. WHEREFORE, Plaintiffs, individually and on behalf of the Class,
17   request the following relief:
18             a. An order certifying that this action is properly brought and may be
19                maintained as a class action, that Plaintiffs be appointed the class
20                representative, and that Plaintiffs’ counsel be appointed counsel for the
21                Class;
22             b. An order declaring Defendants’ conduct to be in violation of applicable
23                law;
24             c. An order enjoining Defendants from selling in California dogs sourced
25                from puppy mills or commercial breeders and from transferring such
26                dogs into California for sale.
27             d. An accounting and disgorgement of Defendants’ ill-gotten gains from
28                their unlawful conduct, to be accomplished exclusively by a judgment for
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 1              money that is satisfied from the assets of Defendants by the ordinary
 2              procedures of execution;
 3           e. To the extent not available at law, an accounting and equitable
 4              disgorgement of any and all of Defendants’ ill-gotten gains from their
 5              unlawful conduct;
 6           f. Legal restitution, legal disgorgement, refund, and/or other monetary
 7              damages, including but not limited to any compensatory, incidental,
 8              nominal, or consequential damages, together with costs, disbursements,
 9              including reasonable attorneys’ fees pursuant to the applicable statutes
10              and prejudgment interest at the maximum rate allowable by law;
11           g. Statutory damages in the maximum amount provided by law;
12           h. Punitive and/or treble damages in accordance with proof and in an
13              amount consistent with applicable precedent, including those available
14              under 18 U.S.C. § 1964(c) and Cal. Civil Code § 3294;
15           i. An award to Plaintiffs and Class Members of reasonable attorneys’ fees
16              and costs;
17           j. All such other and further relief as may be deemed just, necessary, or
18              proper.
19
20
21   Dated: May 16, 2024                   By:   /s/ Ariel Flint
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